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                                                                       EXHIBIT 2.1




                                AGREEMENT AND PLAN OF MERGER




                                             among




                                    ABBOTT LABORATORIES,




                                    S&G NUTRITIONALS, INC.




                                               and




                                  KOS PHARMACEUTICALS, INC.




                                   Dated as of November 5, 2006




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                                       AGREEMENT AND PLAN OF MERGER
AGREEMENT AND PLAN OF MERGER, dated as of November 5, 2006 (this “Agreement”) among ABBOTT
LABORATORIES, an Illinois corporation (“Parent”), S&G Nutritionals, Inc., a Delaware corporation and a
direct wholly-owned Subsidiary of Parent (“Merger Sub”), and KOS PHARMACEUTICALS, INC., a Florida
corporation (the “Company”).
   WHEREAS the respective Boards of Directors of Parent, Merger Sub and the Company have approved the
acquisition of the Company by Parent on the terms and subject to the conditions set forth in this Agreement;
   WHEREAS, in furtherance of the acquisition of the Company by Parent on the terms and subject to the
conditions set forth in this Agreement, Parent proposes to cause Merger Sub to make a tender oﬀer (as it may
be amended from time to time as permitted under this Agreement, the “Oﬀer”) to purchase all the outstanding
shares of common stock, par value $0.01 per share (a “Share”), of the Company (the “Company Common
Stock”), at a price per Share of Company Common Stock of $78.00 (such amount, or any other amount per
Share paid pursuant to the Oﬀer and this Agreement, the “Oﬀer Price”), net to the seller in cash, on the terms
and subject to the conditions set forth in this Agreement;
   WHEREAS, the Board of Directors of the Company has (i) determined that this Agreement and the
transactions contemplated hereby, including the Oﬀer and the merger (the “Merger”) of Merger Sub with and
into the Company in accordance with the Business Corporation Act of the State of Florida (the “FBCA”), are
advisable, fair to and in the best interests of the Company and its Shareholders, (ii) adopted and approved this
Agreement and the transactions contemplated hereby, including the Oﬀer and the Merger, in accordance with
the FBCA, upon the terms and subject to the conditions set forth herein, and (iii) resolved to recommend the
Oﬀer and the approval of this Agreement and the other transactions contemplated hereby (including the
Merger) by the shareholders of the Company;
   WHEREAS, the Boards of Directors of Parent and Merger Sub have each adopted and approved, and
Parent, as the sole shareholder of Merger Sub has approved this Agreement and declared it advisable, fair to
and in the best interests of Parent and Merger Sub, respectively to enter into this Agreement providing for the
Oﬀer and Merger in accordance with the FBCA, upon the terms and subject to the conditions set forth herein;
    WHEREAS, as an inducement to and condition of Parent’s willingness to enter into this Agreement, certain
shareholders (collectively, the “Jaharis Family”) will enter into a shareholders agreement dated as of the date
hereof (the “Shareholders Agreement”), the form of which is attached as Annex 1, and the Board of Directors
of the Company has approved the entry by the Jaharis Family into the Shareholders Agreement. The
Shareholders Agreement will be entered into concurrently with the execution and delivery of this Agreement;
and
   WHEREAS, as an inducement to and condition of the Jaharis Family entering into the Shareholders
Agreement, Parent and certain persons have entered into a stock purchase agreement dated as of the date
hereof (the “Stock Purchase Agreement”), the form of which is




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attached as Annex 2, providing for the purchase by Parent of all outstanding shares of Kos Investments, Inc.
(the “Investments Stock Purchase”).
   NOW, THEREFORE, in consideration of the foregoing and the mutual covenants, agreements and
representations herein contained, and intending to be legally bound hereby, Parent, Merger Sub and the
Company hereby agree as follows:

                                                   ARTICLE I

                                       THE OFFER AND THE MERGER
    SECTION 1.1 The Oﬀer. (a) Subject to the conditions of this Agreement, as promptly as practicable but in
no event later than the later of (x) six Business Days after the date of this Agreement and (y) the ﬁrst Business
Day following publication in the Federal Register of SEC Release Number 34-54684 relating to the
amendments to Rule 14d-10 promulgated under the Exchange Act (the date of such publications referred to as
the “Publication Date”), Merger Sub shall, and Parent shall cause Merger Sub to, commence the Oﬀer within
the meaning of the applicable rules and regulations of the Securities and Exchange Commission (the “SEC”).
The obligations of Merger Sub to, and of Parent to cause Merger Sub to, commence the Oﬀer and accept for
payment, and pay for, any Shares tendered pursuant to the Oﬀer are subject to the conditions set forth in
Exhibit A. The initial expiration date of the Oﬀer shall be midnight New York City time on the later of (x) the
30th day (or if such day is not a Business Day, the ﬁrst Business Day thereafter) following the Publication Date
and (y) the 20th Business Day following the commencement of the Oﬀer (determined using Exchange Act
Rule 14d-1(g)(3) of the SEC) (the initial “Expiration Date” and any expiration time and date established
pursuant to an extension of the Oﬀer as so extended, also an “Expiration Date”). Merger Sub expressly
reserves the right (x) if the Minimum Tender Condition has not been satisﬁed or if an Adverse
Recommendation Change has been made, to increase the Oﬀer Price and (y) to waive any condition to the
Oﬀer or modify the terms of the Oﬀer, except that, without the consent of the Company, Merger Sub shall not
(i) reduce the number of Shares subject to the Oﬀer, (ii) reduce the Oﬀer Price, (iii) waive the Minimum
Tender Condition (as deﬁned in Exhibit A), (iv) add to the conditions set forth in Exhibit A or modify any
condition set forth in Exhibit A in any manner adverse to the holders of Company Common Stock, (v) except as
otherwise provided in this Section 1.1(a), extend the Oﬀer, (vi) change the form of consideration payable in the
Oﬀer or (vii) otherwise amend the Oﬀer in any manner adverse to the holders of Company Common Stock.
Notwithstanding the foregoing, Merger Sub may, in its discretion, without the consent of the Company,
(i) extend the Oﬀer for one or more consecutive increments of not more than ﬁve Business Days each, if at any
otherwise scheduled Expiration Date of the Oﬀer any of the conditions to Merger Sub’s obligation to purchase
Shares are not satisﬁed or waived, until such time as such conditions are satisﬁed or waived, (ii) extend the
Oﬀer for the minimum period required by any rule, regulation, interpretation or position of the SEC or the staﬀ
thereof applicable to the Oﬀer or (iii) make available a “subsequent oﬀering period” in accordance with
Exchange Act Rule 14d-11. In addition, if at any otherwise scheduled Expiration Date of the Oﬀer any condition
to the Oﬀer is not satisﬁed or waived, Merger Sub shall, and Parent shall cause Merger Sub to, extend the
Oﬀer at the request of the Company for one or more consecutive increments of not more than ﬁve Business
Days each. In addition, Merger Sub shall, if requested by the Company, make available a subsequent oﬀering
period in accordance with

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Exchange Act Rule 14d-11 of not less than ten Business Days; provided that Merger Sub shall not be required
to make available such a subsequent oﬀering period in the event that, prior to the commencement of such
subsequent oﬀering period, Parent and Merger Sub, directly or indirectly own more than 80% of the Fully
Diluted Shares. On the terms and subject to the conditions of the Oﬀer and this Agreement, Merger Sub shall,
and Parent shall cause Merger Sub to, accept and pay for all Shares validly tendered and not withdrawn
pursuant to the Oﬀer that Merger Sub becomes obligated to purchase pursuant to the Oﬀer as soon as
practicable after the expiration of the Oﬀer. For the avoidance of doubt, the parties hereto agree that shares
of Restricted Company Common Stock may be tendered in the Oﬀer and be acquired by Parent or Merger Sub
pursuant to the Oﬀer.
     (b) On the date of commencement of the Oﬀer, Parent and Merger Sub shall ﬁle with the SEC a Tender
Oﬀer Statement on Schedule TO with respect to the Oﬀer, which shall contain an oﬀer to purchase and a
related letter of transmittal and summary advertisement (such Schedule TO and the documents included
therein pursuant to which the Oﬀer will be made, together with any supplements or amendments thereto, the
“Oﬀer Documents”). Each of Parent, Merger Sub and the Company shall promptly correct any information
provided by it for use in the Oﬀer Documents if and to the extent that such information shall have become
false or misleading in any material respect, and each of Parent and Merger Sub shall take all steps necessary
to amend or supplement the Oﬀer Documents and to cause the Oﬀer Documents as so amended or
supplemented to be ﬁled with the SEC and the Oﬀer Documents as so amended or supplemented to be
disseminated to the Company’s shareholders, in each case as and to the extent required by applicable federal
securities laws. Parent, Merger Sub and the Company will cooperate and consult with each other and their
respective counsel in the preparation of the Oﬀer Documents. Without limiting the generality of the foregoing,
the Company will furnish to Parent the information relating to it required by the Exchange Act and the rules
and regulations promulgated thereunder to be set forth in the Oﬀer Documents. Parent and Merger Sub shall
(i) provide the Company and its counsel in writing with any comments Parent, Merger Sub or their counsel may
receive from the SEC or its staﬀ with respect to the Oﬀer Documents promptly after the receipt of such
comments, (ii) consult with the Company and its counsel prior to responding to any such comments, and
(iii) provide the Company and its counsel in writing with any comments or responses thereto of Parent, Merger
Sub or their counsel. Parent and Merger Sub shall give the Company a reasonable opportunity to review and
comment on the Oﬀer Documents and any amendments thereto.
   (c) Parent shall provide or cause to be provided to Merger Sub on a timely basis the funds necessary to
purchase any Shares that Merger Sub becomes obligated to purchase pursuant to the Oﬀer.
   (d) The Company hereby grants to Parent and Merger Sub an irrevocable option (the “Top-Up Option”) to
purchase at a price per share equal to the Oﬀer Price up to that number of newly issued shares of the
Company Common Stock (the “Top-Up Shares”) equal to the lowest number of shares of Company Common
Stock that, when added to the number of shares of Company Common Stock, directly or indirectly, owned by
Parent and Merger Sub at the time of exercise of the Top-Up Option shall constitute one share more than
eighty percent (80%) of the Fully Diluted Shares immediately after the issuance of the Top-Up Share. The Top-
Up Option shall be exercisable only once, at such time as Parent and Merger Sub, directly or

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indirectly, own at least 70% of the Fully Diluted Shares and prior to the ﬁfth Business Day after the Expiration
Date or the expiration date of any subsequent oﬀering period. Such Top-Up Option shall not be exercisable to
the extent the number of shares of Company Common Stock subject thereto (taken together with the number
of Fully Diluted Shares outstanding at such time) exceeds the number of authorized shares of Company
Common Stock available for issuances. The obligation of the Company to deliver the Top-Up Shares upon the
exercise of the Top-Up Option is subject to the condition that no provision of any applicable Law and no
Judgment, injunction, order or decree shall prohibit the exercise of the Top-Up Option or the delivery of the
Top-Up Shares in respect of such exercise. The parties shall cooperate to ensure that the issuance of the Top-
Up Shares is accomplished consistent with all applicable legal requirements of all Governmental Entities,
including compliance with an applicable exemption from registration of the Top-Up Shares under the
Securities Act. In the event Parent and Merger Sub wish to exercise the Top-Up Option, Merger Sub shall give
the Company one (1) Business Day prior written notice specifying the number of shares of the Company
Common Stock that are or will be, directly or indirectly, owned by Parent and Merger Sub immediately
preceding the purchase of the Top-Up Shares and specifying a place and a time for the closing of such
purchase. The Company shall, as soon as practicable following receipt of such notice, deliver written notice to
Merger Sub specifying the number of Top-Up Shares. At the closing of the purchase of Top-Up Shares, the
portion of the purchase price owed by Parent or Merger Sub upon exercise of such Top-Up Option shall be
paid to the Company (i) in cash by wire transfer or cashier’s check or (ii) by issuance by Merger Sub to the
Company of a promissory note on terms reasonably satisfactory to the Company.
  SECTION 1.2 Company Actions. (a) The Company hereby approves of and consents to the Oﬀer, the Merger
and the other transactions contemplated by this Agreement.
     (b) On the date the Oﬀer Documents are ﬁled with the SEC or as soon as practicable thereafter, the
Company shall ﬁle with the SEC a Solicitation/Recommendation Statement on Schedule 14D-9 with respect to
the Oﬀer (such Schedule 14D-9, as amended from time to time, the “Schedule 14D-9”) containing the
recommendations referred to in Section 3.4(b) and shall mail the Schedule 14D-9 to the holders of Company
Common Stock. Each of the Company, Parent and Merger Sub shall promptly correct any information provided
by it for use in the Schedule 14D-9 if and to the extent that such information shall have become false or
misleading in any material respect, and the Company shall take all steps necessary to amend or supplement
the Schedule 14D-9 and to cause the Schedule 14D-9 as so amended or supplemented to be ﬁled with the SEC
and disseminated to the Company’s shareholders, in each case as and to the extent required by applicable
federal securities laws. Parent, Merger Sub and the Company will cooperate and consult with each other and
their respective counsel in the preparation of the Schedule 14D-9. Without limiting the generality of the
foregoing, Parent will furnish to the Company the information relating to it required by the Exchange Act and
the rules and regulations promulgated thereunder to be set forth in the Schedule 14D-9. The Company shall
(i) provide Parent and its counsel in writing with any comments the Company or its counsel may receive from
the SEC or its staﬀ with respect to the Schedule 14D-9 promptly after the receipt of such comments,
(ii) consult with Parent and Merger Sub and their counsel prior to responding to any such comments, and
(iii) provide Parent and Merger Sub and their counsel in writing with any comments or responses thereto of
the Company or its counsel. The Company

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shall give Parent and Merger Sub a reasonable opportunity to review and comment on the Schedule 14D-9 and
any amendments thereto.
   (c) In connection with the Oﬀer, the Company shall cause its transfer agent to furnish Merger Sub promptly
with mailing labels containing the names and addresses of the record holders of Company Common Stock as
of a recent date and of those persons becoming record holders subsequent to such date, together with copies
of all lists of shareholders, security position listings and computer ﬁles and all other information in the
Company’s possession or control regarding the beneﬁcial owners of Company Common Stock, and shall
furnish to Merger Sub such information and assistance (including updated lists of shareholders, security
position listings and computer ﬁles) as Parent may reasonably request in communicating the Oﬀer to the
Company’s shareholders. Subject to the requirements of applicable Law, and except for such steps as are
necessary to disseminate the Oﬀer Documents and any other documents necessary to consummate the
transactions contemplated by this Agreement, Parent and Merger Sub shall hold in conﬁdence the information
contained in any such labels, listings and ﬁles, shall use such information only in connection with the Oﬀer and
the Merger and, if this Agreement shall be terminated, shall, upon request, deliver to the Company all copies
of such information then in their possession.
    SECTION 1.3 Treatment of Options; MJ Warrant. (a) Promptly after consummation of the Oﬀer, by virtue of
the consummation of the Oﬀer and without any action on the part of any holder, each option to purchase
Shares (an “Option”) granted under any Company Plan that is outstanding and unexercised (whether or not
then exercisable) immediately prior to the consummation of the Oﬀer shall vest in full and be canceled
immediately prior to such time and shall be converted into the right to receive, promptly thereafter, an amount
in cash (less any applicable withholding taxes and without interest) equal to the product of (i) the number of
Shares subject to such Option and (ii) the excess, if any, of (A) the highest price per Share paid pursuant to the
Oﬀer over (B) the per share exercise price in eﬀect for such Option (the “Option Consideration”).
   (b) Promptly after consummation of the Oﬀer, by virtue of consummation of the Oﬀer and without any
action on the part of the holder of each Non-Detachable Common Stock Purchase Warrant dated as of
December 19, 2002 by and between Mary Jaharis and the Company (the “MJ Warrant”), the holder of the MJ
Warrant shall be entitled to receive an amount in cash equal to the amount of cash that the holder of the
Company Common Stock deliverable upon exercise of the MJ Warrant would have been entitled to receive in
the Oﬀer if the MJ Warrant had been exercised immediately before the Oﬀer.
   SECTION 1.4 The Merger. Upon the terms and subject to the conditions of this Agreement and in
accordance with the FBCA, at the Eﬀective Time, Merger Sub shall be merged with and into the Company. As a
result of the Merger, the separate corporate existence of Merger Sub shall cease and the Company shall
continue as the surviving corporation of the Merger (the “Surviving Corporation”).
   SECTION 1.5 Closing; Eﬀective Time. Subject to the provisions of Article VII, the closing of the Merger (the
“Closing”) shall take place at the oﬀices of Cravath, Swaine & Moore LLP, Worldwide Plaza, 825 Eighth
Avenue, New York, New York 10019, as soon as

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practicable, but in no event later than the second Business Day, after the satisfaction or waiver (to the extent
permitted by Law) of the conditions set forth in Article VII (excluding conditions that, by their terms, cannot be
satisﬁed until the Closing, but subject to the satisfaction or waiver (to the extent permitted by Law) of such
conditions at the Closing), or at such other place or on such other date as Parent and the Company may
mutually agree; provided, however, that if all the conditions set forth in Article VII shall not have been
satisﬁed or waived (to the extent permitted by Law) on such second Business Day, then the Closing shall take
place on the ﬁrst Business Day on which all such conditions shall have been satisﬁed or waived (to the extent
permitted by Law). The date on which the Closing actually occurs is hereinafter referred to as the “Closing
Date”. At the Closing, the parties hereto shall cause the Merger to be consummated by ﬁling articles of
merger (the “Articles of Merger”) with the Florida Department of State, Division of Corporations and the
Secretary of State of the State of Delaware, in such form as required by, and executed in accordance with, the
relevant provisions of the FBCA (the date and time of the acceptance of the ﬁling of the Articles of Merger by
the Florida Department of State, Division of Corporations, or such later time as is speciﬁed in the Articles of
Merger and as is agreed to by the parties hereto, being hereinafter referred to as the “Eﬀective Time”) and
shall make all other ﬁlings or recordings required under the FBCA in connection with the Merger.
  SECTION 1.6 Eﬀects of the Merger. The Merger shall have the eﬀects set forth herein and in the
applicable provisions of the FBCA. Without limiting the generality of the foregoing and subject thereto, at the
Eﬀective Time, all the property, rights, privileges, immunities, powers and franchises of the Company and
Merger Sub shall vest in the Surviving Corporation and all debts, liabilities and duties of the Company and
Merger Sub shall become the debts, liabilities and duties of the Surviving Corporation.
   SECTION 1.7 Articles of Incorporation; Bylaws. (a) Pursuant to the Merger, the articles of incorporation of
the Company shall be amended and restated to be in the form of the articles of incorporation of Merger Sub in
eﬀect immediately prior to the Eﬀective Time and, as so amended, such articles of incorporation shall be the
articles of incorporation of the Surviving Corporation until thereafter amended in accordance with its terms
and as provided by law, except that the name of the Surviving Corporation shall be changed to a name to be
speciﬁed by Parent.
   (b) Pursuant to the Merger, the bylaws of Merger Sub in eﬀect immediately prior to the Eﬀective Time shall
be the bylaws of the Surviving Corporation until thereafter amended in accordance with their terms and the
articles of incorporation of the Surviving Corporation and as provided by Law.
   SECTION 1.8 Directors and Oﬀicers. The directors of Merger Sub immediately prior to the Eﬀective Time
and the oﬀicers of the Company immediately prior to the Eﬀective Time shall be the directors and oﬀicers,
respectively, of the Surviving Corporation, in each case until the earlier of his or her resignation or removal or
until his or her successors are duly elected and qualiﬁed.

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                                                  ARTICLE II

                             EFFECT OF THE MERGER ON THE CAPITAL STOCK
                                 OF THE CONSTITUENT CORPORATIONS
    SECTION 2.1 Conversion of Securities. At the Eﬀective Time, by virtue of the Merger and without any
action on the part of Parent, Merger Sub, the Company or the holders of any of the following securities, the
following shall occur:
   (a) subject to Section 2.3, each Share issued and outstanding immediately prior to the Eﬀective Time (other
than any Shares to be canceled pursuant to Section 2.1(b) or to be converted pursuant to Section 2.1(c), but
including Shares subject to vesting or other restrictions (the “Restricted Company Common Stock”)) shall be
converted into the right to receive the highest price per Share paid pursuant to the Oﬀer in cash without
interest (the “Merger Consideration”);
   (b) each Share held in the treasury of the Company and each Share owned by Parent or Merger Sub
immediately prior to the Eﬀective Time shall be canceled and retired without any conversion thereof, and no
payment or distribution shall be made with respect thereto;
   (c) all of the Shares owned by Kos Investments, Inc. or Kos Holdings, Inc. immediately prior to the Eﬀective
Time shall be converted, in the aggregate, into a number of shares equal to the same percentage of the fully-
diluted outstanding stock of the Surviving Corporation as such shares currently represent of the Fully Diluted
Shares; and
   (d) each share of common stock of Merger Sub issued and outstanding immediately prior to the Eﬀective
Time shall be converted into one share of common stock of the Surviving Corporation.
   Except as set forth in Sections 2.1(b) and (c), (i) at the Eﬀective Time, all Shares of Company Common
Stock shall cease to be outstanding, shall automatically be cancelled and shall cease to exist and (ii) each
holder of a certiﬁcate that immediately prior to the Eﬀective Time represented any such Shares of Company
Common Stock (a “Certiﬁcate”) shall cease to have any rights with respect thereto, except the right to receive
the Merger Consideration.
    SECTION 2.2 Treatment of ESPP, Warrants, etc. (a) The Company shall take any and all actions with
respect to the Company’s Employee Stock Purchase Plan (the “ESPP”) as are necessary to provide that,
subject to consummation of the Merger, the ESPP shall terminate, eﬀective on the date immediately prior to
the Closing Date (the “ESPP Termination Date”). On the ESPP Termination Date, each purchase right under
the ESPP as of the ESPP Termination Date shall be automatically exercised by applying the payroll deductions
of each participant in the ESPP for the applicable Oﬀering Period (as deﬁned in the ESPP) to the purchase of a
number of whole Shares (subject to the provisions of the ESPP regarding the number of shares purchasable)
at the exercise price per Share speciﬁed in the ESPP, which number of shares will then be canceled and
converted into the right to receive the Merger Consideration in accordance with Section 2.1(a) hereof. Any
excess payroll deductions not used

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as a result of ESPP share limitations shall be distributed to each participant without interest. If a fractional
number of Shares results, then such number shall be rounded down to the next whole number, and the excess
payroll deductions shall be distributed to the applicable participant without interest.
   (b) Immediately after the consummation of the Oﬀer, each outstanding award of Restricted Company
Common Stock granted under the Company’s 1996 Stock Option Plan or the Kos Incentive Plan, or otherwise,
not acquired by Parent or Merger Sub pursuant to the Oﬀer shall vest in full and cease to be subject to
restrictions and the holders of such awards of Restricted Company Common Stock outstanding immediately
prior to the Eﬀective Time shall be entitled to receive the Merger Consideration pursuant to Section 2.1(a).
    (c) At the Eﬀective Time, the holder of the Warrant Agreement dated as of January 1, 2002, by and between
the Company and PharmaBio Development Inc. (the “PharmaBio Warrant”) shall be entitled to receive upon
exercise of the PharmaBio Warrant, if not already exercised prior to the Eﬀective Time, during the period
speciﬁed therein the amount in cash, without interest, equal to (i) the amount of cash that a holder of the
Company Common Stock deliverable upon exercise of the PharmaBio Warrant would have been entitled to
receive in the Merger if the PharmaBio Warrant had been exercised immediately before the Merger minus
(ii) the exercise price of the PharmaBio Warrant, in accordance with the terms and conditions of the
PharmaBio Warrant.
   SECTION 2.3 Surrender of Shares. (a) Prior to the Eﬀective Time, Merger Sub shall enter into an
agreement with a paying agent reasonably acceptable to the Company to act as its paying agent (the “Paying
Agent”) for the payment of the Merger Consideration to which the shareholders of the Company shall become
entitled pursuant to this Article II. At or prior to the Eﬀective Time, Parent shall, or shall cause the Surviving
Corporation to, deposit with the Paying Agent to be held in trust for the beneﬁt of holders of Certiﬁcates all
the cash necessary to pay for the Shares converted into the right to receive the Merger Consideration
pursuant to Section 2.1(a) (such cash being hereinafter referred to as the “Exchange Fund”).
    (b) Promptly after the Eﬀective Time, Parent shall cause to be mailed to each record holder, as of the
Eﬀective Time, of a Certiﬁcate which immediately prior to the Eﬀective Time represented Shares, a form of
letter of transmittal (which shall be in customary form and shall specify that delivery shall be eﬀected, and risk
of loss and title to the Certiﬁcates shall pass, only upon proper delivery of the Certiﬁcates to the Paying
Agent) and instructions for use in eﬀecting the surrender of the Certiﬁcates for payment of the Merger
Consideration. Upon surrender to the Paying Agent of a Certiﬁcate, together with such letter of transmittal,
duly completed and validly executed in accordance with the instructions thereto, and such other documents as
may be required pursuant to such instructions, the holder of such Certiﬁcate shall be entitled to receive upon
such surrender of such Certiﬁcate the Merger Consideration pursuant to Section 2.1(a) and such Certiﬁcate
shall then be canceled. If payment of the Merger Consideration is to be made to a Person other than the
Person in whose name the Certiﬁcate is registered, it shall be a condition of payment that the Certiﬁcate so
surrendered shall be properly endorsed or shall be otherwise in proper form for transfer and that the Person
requesting such payment shall have paid any transfer and other Taxes required by reason of the payment of
the Merger Consideration to a Person other than the registered holder of the Certiﬁcate surrendered

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or shall have established to the satisfaction of the Surviving Corporation that such Tax either has been paid or
is not applicable. Until surrendered as contemplated by this Section 2.3(b), each Certiﬁcate shall be deemed
at any time after the Eﬀective Time to represent only the right to receive upon such surrender of such
Certiﬁcate the Merger Consideration pursuant to Section 2.1(a). No interest shall be paid or accrue on the
cash payable upon surrender of any Certiﬁcate.
   (c) At any time following the date that is twelve months after the Eﬀective Time, the Surviving Corporation
shall be entitled to require the Paying Agent to deliver to it any portion of the Exchange Fund which have been
made available to the Paying Agent and which have not been disbursed to holders of Certiﬁcates and
thereafter such holders shall be entitled to look to Parent and the Surviving Corporation (subject to abandoned
property, escheat or other similar laws) only as general creditors thereof with respect to the Merger
Consideration payable upon due surrender of their Certiﬁcates. The Surviving Corporation shall pay all
charges and expenses, including those of the Paying Agent, incurred by it in connection with the exchange of
Shares for the Merger Consideration and other amounts contemplated by this Article II. None of Parent,
Merger Sub, the Company or the Paying Agent shall be liable to any person in respect of any cash delivered to
a public oﬀicial pursuant to any applicable abandoned property, escheat or similar law. The Merger
Consideration paid in accordance with the terms of this Article II in respect of Certiﬁcates that have been
surrendered in accordance with the terms of this Agreement shall be deemed to have been paid in full
satisfaction of all rights pertaining to the Shares of Company Common Stock represented thereby.
   (d) After the Eﬀective Time, the stock transfer books of the Company shall be closed and thereafter there
shall be no further registration of transfers of Shares that were outstanding prior to the Eﬀective Time. After
the Eﬀective Time, Certiﬁcates presented to the Surviving Corporation for transfer shall be canceled and
exchanged for the consideration provided for, and in accordance with the procedures set forth in, this
Article II.
   (e) In the event that any Certiﬁcate shall have been lost, stolen or destroyed, upon the making of an
aﬀidavit of that fact by the person claiming such Certiﬁcate to be lost, stolen or destroyed, and, if reasonably
requested, the posting by the holder of a bond in customary amount as indemnity against any claim that may
be made against it with respect to the Certiﬁcate, the Paying Agent will deliver in exchange for the lost, stolen
or destroyed Certiﬁcate the Merger Consideration payable in respect of the Shares represented by such
Certiﬁcate pursuant to this Article II.
    (f) The Paying Agent shall invest the cash included in the Exchange Fund, as directed by Parent, on a daily
basis in (i) obligations of or guaranteed by the United States of America or any agency or instrumentality
thereof, (ii) money market accounts, certiﬁcates of deposit, bank repurchase agreement or banker’s
acceptances of, or demand deposits with, commercial banks having a combined capital and surplus of at least
$5,000,000,000, or (iii) commercial paper obligations rated P-1 or A-1 or better by Standard &Poor’s
Corporation or Moody’s Investor Services, Inc. Any proﬁt or loss resulting from, or interest and other income
produced by, such investments shall be for the account of Parent. If for any reason (including losses) the cash
in the Exchange Fund shall be insuﬀicient to fully satisfy all of the payment obligations to be made in cash by
the Exchange Agent hereunder (but subject to Section 2.4),

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Parent shall promptly deposit cash into the Exchange Fund in an amount which is equal to the deﬁciency in the
amount of cash required to fully satisfy such cash payment obligations.
   SECTION 2.4 Withholding Taxes. Notwithstanding anything in this Agreement to the contrary, Parent, the
Surviving Corporation and the Paying Agent shall be entitled to deduct and withhold from the consideration
otherwise payable to any former holder of Shares pursuant to this Agreement any amount as may be required
to be deducted and withheld with respect to the making of such payment under applicable tax Laws. To the
extent that amounts are so properly withheld by the Paying Agent, the Surviving Corporation or Parent, as the
case may be, and are paid over to the appropriate Governmental Entity in accordance with applicable Law,
such withheld amounts shall be treated for all purposes of this Agreement as having been paid to the holder of
the Shares in respect of which such deduction and withholding was made by the Paying Agent, the Surviving
Corporation or Parent, as the case may be.

                                                  ARTICLE III

                         REPRESENTATIONS AND WARRANTIES OF THE COMPANY
   The Company hereby represents and warrants to Parent and Merger Sub that, except as identiﬁed in the
SEC Reports or as set forth on the Company Disclosure Schedule delivered by the Company to the Parent and
Merger Sub prior to the execution of this Agreement (the “Company Disclosure Schedule”), it being
understood and agreed that (i) each item in a particular section of the Company Disclosure Schedule applies
only to such section and to any other section to which its relevance is readily apparent and (ii) each item in the
SEC Reports applies only to such section of this Agreement to which its relevance is readily apparent:
    SECTION 3.1 Organization and Qualiﬁcation; Subsidiaries; Joint Ventures. (a) Each of the Company and its
Subsidiaries is a corporation duly organized, validly existing and in good standing or active status under the
laws of the jurisdiction in which it is incorporated (in the case of good standing, to the extent the concept is
recognized by such jurisdiction) and has all requisite corporate power and authority to own, lease and operate
its properties and to carry on its business as it is now being conducted, except where any failure to be so
organized, existing or in good standing or active status or to have such power or authority would not, or would
not reasonably be expected to, individually or in the aggregate, have a Material Adverse Eﬀect. Each of the
Company and its Subsidiaries is duly qualiﬁed or licensed to do business, and is in good standing, in each
jurisdiction where the character of the properties owned, leased or operated by it or the nature of its activities
makes such qualiﬁcation or licensing necessary, except for any failure to be so qualiﬁed or licensed or in good
standing which would not, or would not reasonably be expected to, individually or in the aggregate, have a
Material Adverse Eﬀect. “Material Adverse Eﬀect” means any change, eﬀect, event or occurrence that (A) has
a material adverse eﬀect on the assets, business, ﬁnancial condition or results of operations of the Company
and its Subsidiaries taken as a whole or (B) prevents, or materially delays the Company from performing its
obligations under this Agreement in any material respect or materially delays consummating the transactions
contemplated hereby or would reasonably be expected to have such eﬀect; provided, however, that no change,
eﬀect, event or occurrence to the extent arising or resulting from any of the following, either alone or in
combination, shall constitute or be taken into account in determining whether there has been or will be, a
Material

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Adverse Eﬀect: (i) general economic or market conditions or general changes or developments in the
pharmaceutical industry or aﬀecting participants in the pharmaceutical industry, (ii) acts of war or terrorism or
natural disasters, (iii) the announcement or performance of this Agreement and the transactions contemplated
hereby, including compliance with the covenants set forth herein and the identity of Parent as the acquiror of
the Company, or any action taken or omitted to be taken by the Company at the written request or with the
prior written consent of Parent or Merger Sub, (iv) changes in GAAP, (v) changes in the price or trading volume
of the Company’s stock (provided that any change, eﬀect, event or occurrence that may have caused or
contributed to such change in market price or trading volume shall not be excluded), (vi) any failure by the
Company to meet revenue or earnings projections, in and of itself (provided that any change, eﬀect, event or
occurrence that may have caused or contributed to such failure to meet published revenue or earnings
projections shall not be excluded) or (vii) the Submission, unless, in the case of clause (i) or (ii), such change,
eﬀect, event or occurrence has a materially disproportionate eﬀect on the Company and its Subsidiaries,
taken as a whole, compared with other companies operating in the pharmaceutical industry.
    (b) Section 3.1(b) of the Company Disclosure Schedule sets forth, for each Company Joint Venture, the
interest held by the Company and the jurisdiction in which such Company Joint Venture is organized. The term
“Company Joint Venture” means any corporation or other entity (including partnership, limited liability
company and other business association) that is not a Subsidiary of the Company and in which the Company or
one or more of the Company’s Subsidiaries owns an equity interest (other than equity interests held for
passive investment purposes which are less than 10% of any class of the outstanding voting securities or other
equity of any such entity and equity interests in which the invested capital associated with the Company’s or
its Subsidiaries’ interest is less than $1,000,000, as reasonably determined by the Company). Interests in the
Company Joint Ventures held by the Company are held directly by the Company or one of its Subsidiaries, free
and clear of all security interests, liens, claims, pledges, agreements, limitations in voting or transfer rights,
charges or other encumbrances of any nature whatsoever (“Liens”), except any such Liens that would not, or
would not reasonably be expected to, individually or in the aggregate, have a Material Adverse Eﬀect. Neither
the Company nor any Subsidiary thereof has any obligation or commitment to make any capital contribution to
any Company Joint Venture.
    SECTION 3.2 Articles of Incorporation and Bylaws. The Company has heretofore furnished to Parent a
complete and correct copy of the amended and restated articles of incorporation dated as of May 2, 2005 (the
“Articles of Incorporation”) and the amended and restated bylaws dated as of October 16, 2003 (the “Bylaws”)
of the Company as in eﬀect on the date hereof and all minutes of the Board of Directors of the Company since
January 1, 2005 other than those with respect to consideration and approval of the Oﬀer and the Merger and
related transactions. The Articles of Incorporation of the Company and the Bylaws are in full force and eﬀect
and no other organizational documents are applicable to or binding upon the Company. The Company is not in
violation of any provisions of its Articles of Incorporation or Bylaws in any material respect.
  SECTION 3.3 Capitalization. (a) The authorized capital stock of the Company consists of (i) 100,000,000
Shares, and (ii) 10,000,000 shares of preferred stock, par value $0.01 per share (the “Preferred Stock”).

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     (b) As of November 2, 2006: (i) 47,630,852 Shares were issued and outstanding, all of which were validly
issued, fully paid and nonassessable and were issued free of preemptive rights; (ii) an aggregate of
10,001,300 Shares was reserved for issuance upon or otherwise deliverable in connection with the grant of
equity-based awards or the exercise of outstanding Options issued pursuant to the Company’s 1996 Stock
Option Plan, the Kos Incentive Plan, the Kos 401K Plan (together with the ESPP, the “Company Stock Plans”);
(iii) no shares of Preferred Stock were outstanding and (iv) an aggregate of 782,111 Shares was reserved for
issuance or delivery upon the exercise of the non-detachable warrants granted in connection with the
Revolving Credit and Loan Agreement by and between the Company and Mary Jaharis, dated as of
December 19, 2002 and the warrants granted in connection with the PharmaBio Warrant. Since the close of
business on November 2, 2006, until the date hereof, no options to purchase shares of Company Common
Stock (including any phantom stock rights, stock appreciation rights or similar rights), Restricted Company
Common Stock or Preferred Stock have been granted and no shares of Company Common Stock or Preferred
Stock have been issued, except for Shares issued pursuant to the exercise of Options, the Kos Incentive Plan,
the Kos 401K Plan and the ESPP, in each case in accordance with their terms. Section 3.3(b) of the Company
Disclosure Schedule sets forth, as of the date speciﬁed thereon, each equity-based award (including
Restricted Company Common Stock) and Option outstanding whether or not under the Company Stock Plans
(specifying whether under the Company Stock Plans or outside of the Company Stock Plans), the number of
Shares issuable thereunder and the expiration date and exercise or conversion price relating thereto.
    (c) As of the date of this Agreement, except as set forth in clauses (a) and (b) of this Section 3.3: (i) there
are not outstanding or authorized any (A) shares of capital stock or other voting securities of the Company,
(B) securities of the Company convertible into or exchangeable for shares of capital stock or voting securities
of the Company or (C) options (including any phantom stock rights, stock appreciation rights or similar rights)
or other rights to acquire from the Company, or any obligation of the Company to issue, any capital stock,
voting securities or securities convertible into or exchangeable for capital stock or voting securities of the
Company (collectively, “Company Securities”); (ii) there are no outstanding obligations of the Company to
repurchase, redeem or otherwise acquire any Company Securities; and (iii) there are no statutory or
contractual preemptive rights, other options, calls, warrants or other rights, agreements, arrangements or
commitments of any character relating to the issued or unissued capital stock or other voting securities of the
Company to which the Company is a party. No Subsidiary of the Company owns any Shares.
   (d) Each of the outstanding shares of capital stock and voting securities of the Company’s Subsidiaries is
duly authorized, validly issued, fully paid and nonassessable and all such shares are owned by the Company,
free and clear of all Liens, except any such Liens that would not, or would not reasonably be expected to,
individually or in the aggregate, have a Material Adverse Eﬀect. There are no (i) outstanding options or other
rights of any kind which obligate the Company or its Subsidiaries to issue or deliver any shares of capital
stock, voting securities or other equity interests of the Subsidiaries of the Company or any securities or
obligations convertible into or exchangeable into or exercisable for any shares of capital stock, voting
securities or other equity interests of such Subsidiaries, (ii) outstanding obligations of the Company or its
Subsidiaries to repurchase, redeem or otherwise acquire any securities or obligations convertible into or
exchangeable into or exercisable for any shares of capital stock,

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voting securities or other equity interests of such Subsidiaries; or (iii) other options, calls, warrants or other
rights, agreements, arrangements or commitments of any character relating to the issued or unissued capital
stock or other equity interests or voting securities of the Subsidiaries of the Company to which the Company
or its Subsidiaries is a party.
   SECTION 3.4 Authority. (a) The Company has all necessary corporate power and authority to execute and
deliver this Agreement, to perform its obligations hereunder and to consummate the transactions
contemplated hereby. The execution, delivery and performance of this Agreement by the Company and the
consummation by the Company of the transactions contemplated hereby have been duly and validly authorized
by all necessary corporate action on the part of the Company, subject, in the case of the Merger, to the
approval of this Agreement by the holders of at least a majority in combined voting power of the outstanding
Shares if required by applicable Law (the “Company Requisite Vote”), and the ﬁling with the Florida
Department of State, Division of Corporations and the Secretary of State of the State of Delaware of the
Articles of Merger as required by the FBCA and the Delaware General Corporation Law. The aﬀirmative vote
of a majority of the outstanding Company Common Stock is the only vote required of the Company’s capital
stock necessary in connection with the approval and consummation of the Merger. No other vote of the
Company’s shareholders is necessary in connection with this Agreement, the Shareholders Agreement, or the
consummation of any of the transactions contemplated hereby. This Agreement has been duly and validly
executed and delivered by the Company and, assuming the due authorization, execution and delivery hereof by
Parent and Merger Sub, constitutes a legal, valid and binding obligation of the Company enforceable against
the Company in accordance with its terms, subject to the eﬀects of bankruptcy, insolvency, fraudulent
conveyance, reorganization, moratorium and other similar laws relating to or aﬀecting creditors’ rights
generally, general equitable principles (whether considered in a proceeding in equity or at law) and any
implied covenant of good faith and fair dealing.
   (b) The Board of Directors of the Company has, by resolutions duly adopted, at a meeting duly called and
held (i) authorized the execution, delivery and performance of this Agreement and all of the transactions
contemplated hereby, (ii) approved, adopted and declared advisable, this Agreement and the transactions
contemplated hereby, including the Oﬀer and the Merger, in accordance with the FBCA, (iii) determined that
the terms of this Agreement and the transactions contemplated hereby, including the Oﬀer and the Merger,
are fair to and in the best interests of the Company and the shareholders of the Company, (iv) recommended
that the holders of Company Common Stock accept the Oﬀer and tender their Shares pursuant to the Oﬀer
(the “Oﬀer Recommendation”) and that the holders of Company Common Stock approve this Agreement and
the transactions contemplated hereby, including the Merger (the “Merger Recommendation”).
   (c) The Board of Directors of the Company has, by resolutions duly adopted at a meeting duly called and
held, approved and declared advisable, the Shareholders Agreement and the Stock Purchase Agreement and,
prior to the execution of the Shareholders Agreement and this Agreement, has taken all necessary actions to
exempt the Investments Stock Purchase, the Shareholders Agreement and this Agreement and the
transactions contemplated hereby and thereby from any and all applicable antitakeover statutes including
FBCA § 607.0901 (“aﬀiliated transactions” statute) and FBCA § 607.0902 (“control-share acquisitions”
statute).

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    SECTION 3.5 No Conﬂict; Required Filings and Consents. (a) The execution, delivery and performance of
this Agreement by the Company do not and will not (i) conﬂict with or violate the Articles of Incorporation or
Bylaws of the Company or its Subsidiaries, (ii) assuming that all consents, approvals and authorizations
contemplated by clauses (i) through (vii) of subsection (b) below have been obtained, and all ﬁlings described
in such clauses have been made, conﬂict with or violate any federal, state, local or foreign statute, law,
ordinance, rule, regulation, order, judgment, decree or legal requirement (“Law”) applicable to the Company
or its Subsidiaries or by which any of their respective properties are bound or (iii) (A) require notice to any
third party, result in any breach or violation of or constitute a default (or an event which with notice or lapse of
time or both would become a default), or (B) result in the loss of a beneﬁt under, or give rise to any right of
termination, cancellation, amendment or acceleration of, or (C) result in the creation of any Lien on any of the
properties or assets of the Company or its Subsidiaries under, any note, bond, mortgage, indenture, contract,
agreement, lease, license, permit or other instrument or obligation (each, a “Contract”) to which the Company
or its Subsidiaries is a party or by which the Company or its Subsidiaries or any of their respective properties
are bound, except, in the case of clauses (ii) and (iii), for any such notice, conﬂict, violation, breach, default,
loss, right or other occurrence which would not, or would not reasonably be expected to, (A) materially delay
consummating the transactions contemplated hereby on a timely basis or (B) individually or in the aggregate,
have a Material Adverse Eﬀect.
    (b) The execution, delivery and performance of this Agreement by the Company and the consummation of
the Oﬀer, the Merger or the Investments Stock Purchase do not and will not require any notice, consent,
approval, authorization or permit of, action by, ﬁling with or notiﬁcation to, any federal, state, local or foreign
governmental or regulatory (including stock exchange) authority, agency, court, commission, or other
governmental body (each, a “Governmental Entity”) to be obtained or made by the Company, except for
(i) applicable requirements of the Securities Act of 1933, as amended (the “Securities Act”) and the Securities
Exchange Act of 1934, as amended (the “Exchange Act”) and the rules and regulations promulgated
thereunder (including the ﬁling of the Schedule 14D-9, the proxy statement to be sent to shareholders of the
Company in connection with the Shareholders Meeting (the “Proxy Statement”) and any information statement
(the “Information Statement”) required under Rule 14f-1 in connection with the Oﬀer), and state securities,
takeover and “blue sky” laws, (ii) the applicable requirements of the Hart-Scott-Rodino Antitrust
Improvements Act of 1976, as amended (the “HSR Act”), (iii) the applicable requirements of antitrust or other
competition laws of jurisdictions other than the United States or investment laws relating to foreign ownership
(“Foreign Antitrust and Investment Laws”), (iv) the applicable requirements of the NASDAQ Stock Market LLC
(“Nasdaq”), (v) the ﬁling with the Florida Department of State, Division of Corporations and the Secretary of
State of the State of Delaware of the Articles of Merger as required by the FBCA and the Delaware General
Corporation Law, (vi) any notices required under the U.S. Federal Food, Drug, and Cosmetic Act, as amended
(the “FDA Act”) or similar laws of jurisdictions other than the United States, and (vii) any such consent,
approval, authorization, permit, action, ﬁling or notiﬁcation the failure of which to make or obtain would not
(A) prevent or materially delay the Company from performing its obligations under this Agreement in any
material respect, (B) materially delay consummating the transactions contemplated hereby on a timely basis,
or (C) individually or in the aggregate, have or reasonably be expected to have, a Material Adverse Eﬀect.

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    SECTION 3.6 Compliance. (a) Neither the Company nor its Subsidiaries is in violation of any Law
applicable to the Company or its Subsidiaries or by which any of their respective properties are bound or any
regulation issued under any of the foregoing or has been notiﬁed in writing by any Governmental Entity of any
violation, or any investigation with respect to any such Law, including Laws enforced by the United States
Food and Drug Administration (“FDA”) and comparable foreign Governmental Entities (collectively, “Drug
Law”), except for any such violation which would not, or would not reasonably be expected to, individually or
in the aggregate, have a Material Adverse Eﬀect.
   (b) The Company and its Subsidiaries have all registrations, applications, licenses, requests for approvals,
exemptions, permits and other regulatory authorizations (“Authorizations”) from Governmental Entities
required to conduct their respective businesses as now being conducted, except for any such Authorizations
the absence of which would not, or would not reasonably be expected to, individually or in the aggregate, have
a Material Adverse Eﬀect. Except for any failures to be in compliance that would not, or would not reasonably
be expected to, individually or in the aggregate, have a Material Adverse Eﬀect, the Company and its
Subsidiaries are in compliance with all such Authorizations. The Company has made available to Parent all
material Authorizations from the FDA.
    (c) None of the Company, any of its Subsidiaries or any oﬀicers, employees or agents of the Company or
any of its Subsidiaries is currently, or has been, excluded, debarred or otherwise made ineligible to participate
in federal health care programs. The Company has no Knowledge of any facts concerning the Company, any of
its Subsidiaries or any oﬀicers, employees or agents of the Company or any of its Subsidiaries that are
reasonably likely to form the basis for an exclusion or debarment of any such entities.
   (d) The Company and its Subsidiaries have not been notiﬁed in writing of any material failure (or any
material investigation with respect thereto) by them or any licensor, licensee, partner or distributor to comply
with, or maintain systems and programs to ensure compliance with any Drug Law pertaining to programs or
systems regarding product quality, notiﬁcation of facilities and products, corporate integrity,
pharmacovigilance and conﬂict of interest including Current Good Manufacturing Practice Requirements,
Good Laboratory Practice Requirements, Good Clinical Practice Requirements, Establishment Registration
and Product Listing requirements, requirements applicable to the debarment of individuals, requirements
applicable to the conﬂict of interest of clinical investigators and Adverse Drug Reaction Reporting
requirements, in each case with respect to any products of the Company or its Subsidiaries.
    (e) The Company and its Subsidiaries have not been notiﬁed in writing of any material failure (or any
material investigation with respect thereto) by them or any licensor, licensee, partner or distributor to have at
all times complied with their obligations to report accurate pricing information for the Company’s or its
Subsidiaries’ products to a Governmental Entity and to pricing services relied upon by a Governmental Entity
or other payors for such products, including their obligations to report accurate Best Prices and Average
Manufacturers’ Prices under the Medicaid Rebate Statute and accurate Average Sales Prices under the
Medicare Modernization Act of 2003 and their obligations to charge accurate Federal Ceiling Prices to
purchasers entitled to those prices.

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    (f) No product or product candidate manufactured, tested, distributed, held and/or marketed by the
Company or any of its Subsidiaries has been recalled, withdrawn, suspended or discontinued (whether
voluntarily or otherwise) since January 1, 2005. No proceedings (whether completed or pending) seeking the
recall, withdrawal, suspension or seizure of any such product or product candidate or pre-market approvals or
marketing authorizations are pending, or to the Knowledge of the Company, threatened, against the Company
or any of its Aﬀiliates, nor have any such proceedings been pending at any time since January 1, 2005. The
Company has, prior to the execution of this Agreement, provided or made available to Parent all current U.S.
annual periodic reports and all information about adverse drug experiences, in each case since January 1,
2005 obtained or otherwise received by the Company from any source, in the United States or outside the
United States, including information derived from clinical investigations prior to any market authorization
approvals, commercial marketing experience, postmarketing clinical investigations, postmarketing
epidemiological/surveillance studies, reports in the scientiﬁc literature, and unpublished scientiﬁc papers
relating to any product or product candidate manufactured, tested, distributed, held and/or marketed by the
Company, any of its Subsidiaries or any of their licensors or licensees in the possession of the Company or any
of its Subsidiaries (or to which any of them has access), except for any adverse drug experiences or reports
which would not, or would not reasonably be expected to, individually or in the aggregate, have a Material
Adverse Eﬀect.
    (g) None of the Company, any of its Subsidiaries or any oﬀicers, employees or agents of the Company or
any of its Subsidiaries has with respect to any product that is manufactured, tested, distributed, held and/or
marketed by the Company or any of its Subsidiaries made an untrue statement of a material fact or fraudulent
statement to the FDA or other Governmental Entity, failed to disclose a material fact required to be disclosed
to the FDA or any other Governmental Entity, or committed an act, made a statement, or failed to make a
statement that, at the time such disclosure was made, could reasonably be expected to provide a basis for the
FDA or any other Governmental Entity to invoke its policy respecting “Fraud, Untrue Statements of Material
Facts, Bribery, and Illegal Gratuities” set forth in 56 Fed. Reg. 46191 (September 10, 1991) or any similar
policy.
    SECTION 3.7 SEC Filings; Financial Statements. (a) The Company has ﬁled or otherwise transmitted all
forms, reports, statements, certiﬁcations and other documents (including all exhibits, amendments and
supplements thereto) required to be ﬁled or otherwise transmitted by it with the SEC) since January 1, 2005
and prior to the date hereof (such documents ﬁled since January 1, 2005 and prior to the date hereof, the
“SEC Reports”). As of their respective dates, each of the SEC Reports complied as to form in all material
respects with the applicable requirements of the Securities Act and the rules and regulations promulgated
thereunder and the Exchange Act and the rules and regulations promulgated thereunder, each as in eﬀect on
the date so ﬁled. Except to the extent amended or superseded by a subsequent ﬁling with the SEC made prior
to the date hereof, as of their respective dates (and if so amended or superseded, then on the date of such
subsequent ﬁling), none of the SEC Reports contained any untrue statement of a material fact or omitted to
state a material fact required to be stated or incorporated by reference therein or necessary in order to make
the statements therein, in the light of the circumstances under which they were made, not misleading.

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   (b) The audited consolidated ﬁnancial statements of the Company (including any related notes thereto)
included in the Company’s Annual Report on Form 10-K/A for the ﬁscal year ended December 31, 2005 ﬁled
with the SEC have been prepared in accordance with GAAP in all material respects applied on a consistent
basis throughout the periods involved (except as may be indicated in the notes thereto) and fairly present in all
material respects the consolidated ﬁnancial position of the Company and its Subsidiaries at the respective
dates thereof and the consolidated statements of operations, cash ﬂows and changes in shareholders’ equity
for the periods indicated therein. The unaudited consolidated ﬁnancial statements of the Company (including
any related notes thereto) for all interim periods included in the Company’s quarterly reports on Form 10-Q or
Form 10-Q/A ﬁled with the SEC since January 1, 2006 have been prepared in accordance with GAAP in all
material respects applied on a consistent basis throughout the periods involved (except as may be indicated in
the notes thereto or may be permitted by the SEC under the Exchange Act) and fairly present in all material
respects the consolidated ﬁnancial position of the Company and its Subsidiaries as of the respective dates
thereof and the consolidated statements of operations and cash ﬂows for the periods indicated therein
(subject to normal period-end adjustments).
   (c) The Company’s disclosure controls and procedures are reasonably designed to ensure that material
information relating to the Company, including its Subsidiaries, is made known to the chief executive oﬀicer
and the chief ﬁnancial oﬀicer of the Company by others within those entities.
   (d) Since December 31, 2005, the Company has not disclosed to the Company’s independent registered
accounting ﬁrm and the audit committee of the Company’s Board of Directors and to Parent (i) any signiﬁcant
deﬁciencies and material weaknesses in the design or operation of its internal control over ﬁnancial reporting
or (ii) any fraud, whether or not material, that involves management or other employees who have a
signiﬁcant role in the Company’s internal control over ﬁnancial reporting.
    (e) Since December 31, 2005, the Company has not identiﬁed any material weaknesses in the design or
operation of its internal control over ﬁnancial reporting. To the Knowledge of the Company, there is no reason
to believe that its auditors and its chief executive oﬀicer and chief ﬁnancial oﬀicer will not be able to give the
certiﬁcations and attestations required pursuant to the rules and regulations adopted pursuant to Section 404
of the Sarbanes-Oxley Act of 2002 when next due. The Company maintains a system of internal accounting
controls suﬀicient to provide reasonable assurance that (i) transactions are executed in accordance with
management’s general or speciﬁc authorizations; (ii) access to assets is permitted only in accordance with
management’s general or speciﬁc authorization; and (iii) the recorded accountability for assets is compared
with the existing assets at reasonable intervals and appropriate action is taken with respect to any
diﬀerences.
   (f) Neither the Company nor its Subsidiaries has any liabilities of any nature, except liabilities that (i) are
accrued or reserved against in the most recent ﬁnancial statements included in the SEC Reports ﬁled prior to
the date hereof or are reﬂected in the notes thereto, (ii) were incurred in the ordinary course of business
since the date of such ﬁnancial statements, (iii) are incurred in connection with the transactions contemplated
by this Agreement, (iv) have been discharged or paid in full prior to the date of this Agreement in the ordinary
course of business,

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or (v) would not, or would not reasonably be expected to, individually or in the aggregate, have a Material
Adverse Eﬀect. Section 3.7(f) of the Company Disclosure Schedule sets forth a list of all outstanding debt for
money borrowed, the applicable lender, interest rate and the applicable payment dates.
   SECTION 3.8 Absence of Certain Changes or Events. Since January 1, 2006, until the date of this
Agreement, (i) except as contemplated by this Agreement, the Company and its Subsidiaries have conducted
their business in the ordinary course consistent with past practice, and (ii) there has not been (a) any change,
event or occurrence which has had or would reasonably be expected to have a Material Adverse Eﬀect or (b)
(A) any declaration, setting aside or payment of any dividend or other distribution in cash, stock, property or
otherwise in respect of the Company’s or its Subsidiaries’ capital stock; (B) any redemption, repurchase or
other acquisition of any shares of capital stock of the Company or its Subsidiaries (other than in connection
with the forfeiture or exercise of equity based awards, Options and Restricted Company Common Stock in
accordance with existing agreements or terms); (C) except as contemplated by this Agreement (1) any
granting by the Company or its Subsidiaries to any of their directors, oﬀicers or employees of any material
increase in compensation or beneﬁts, except for increases in the ordinary course of business consistent with
past practice or that are required under any Company Plan; (2) any granting to any director, oﬀicer or
employee of the right to receive any severance or termination pay, except as provided for under any plan or
agreement in eﬀect prior to January 1, 2006 or (3) any entry by the Company or its Subsidiaries into any
employment, consulting, indemniﬁcation, termination, change of control or severance agreement or
arrangement with any present or former director, oﬀicer or employee of the Company or its Subsidiaries, or
any amendment to or adoption of any Company Plan or collective bargaining agreement; (D) any material
change by the Company in its accounting principles, except as may be required to conform to changes in
statutory or regulatory accounting rules or GAAP or regulatory requirements with respect thereto; (E) any
material Tax election made by the Company or its Subsidiaries or any settlement or compromise of any
material Tax liability by the Company or its Subsidiaries; or (F) any material change in Tax accounting
principles by the Company or its Subsidiaries, except insofar as may have been required by applicable Law.
   SECTION 3.9 Absence of Litigation. There are no suits, claims, actions, proceedings, arbitrations,
mediations or, to the Company’s Knowledge, governmental investigations (“Proceedings”) pending or, to the
Company’s Knowledge, threatened against the Company or its Subsidiaries, other than any Proceeding that
would not, or would not reasonably be expected to, individually or in the aggregate, have a Material Adverse
Eﬀect. Neither the Company nor its Subsidiaries nor any of their respective properties is or are subject to any
order, writ, judgment, injunction, decree or award except for those that would not, or would not reasonably be
expected to, individually or in the aggregate, have a Material Adverse Eﬀect.
   SECTION 3.10 Employee Beneﬁt Plans. (a) Section 3.10(a) of the Company Disclosure Schedule contains a
true and complete list of each material Company Plan. “Company Plans” means each “employee beneﬁt plan”
(within the meaning of Section 3(3) of the Employee Retirement Income Security Act of 1974, as amended
(“ERISA”), but excluding any plan that is a “multiemployer plan,” as deﬁned in Section 3(37) of ERISA
(“Multiemployer Plan”)), and each other cash-based or equity-based plan, program, agreement or
arrangement,

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vacation or sick pay policy, fringe beneﬁt plan, and compensation, severance or employment agreement
contributed to, sponsored or maintained by the Company or its Subsidiaries or with respect to which the
Company or any of its Subsidiaries has any liabilities or obligations as of the date hereof for the beneﬁt of any
current, former or retired employee, oﬀicer, consultant, independent contractor or director of the Company or
its Subsidiaries (collectively, the “Company Employees”).
   (b) With respect to each Company Plan, the Company has made available to the Parent a current, accurate
and complete copy thereof (or, if a plan is not written, a written description thereof), including all amendments
and, to the extent applicable, (i) any related trust agreement or similar agreement, insurance policy or other
funding instrument, (ii) the most recent determination or prototype opinion letter, and any pending request for
such a determination, from the Internal Revenue Service (the “IRS”) relating to a Company Plan, (iii) any
summary plan description and (iv) for the most recent year that a ﬁling has been made (A) the Form 5500 and
attached schedules, (B) audited ﬁnancial statements and (C) actuarial valuation reports, if any. Except as
speciﬁcally provided in the foregoing documents, there are no material amendments to any Company Plans
that have been adopted or approved, nor has the Company or any of its Subsidiaries undertaken to make any
such amendments or to adopt or approve any new Company Plan.
    (c) Each Company Plan, including any associated trust or fund, has been established and administered in
accordance with its terms and in material compliance with the applicable provisions of ERISA, the Code, and
all other applicable laws, rules and regulations, all required contributions and premium payments with respect
thereto have been timely made, and all contributions and premium payments with respect thereto not yet due
have been properly accrued in accordance with GAAP.
    (d) None of the Company and its Subsidiaries nor any of their respective ERISA Aﬀiliates has, at any time
during the last six years, sponsored, contributed to or been obligated to contribute to any Title IV Plan, any
Multiemployer Plan or a plan that has two or more contributing sponsors at least two of whom are not under
common control (within the meaning of Section 4063 of ERISA); and none of the Company and its Subsidiaries
nor any of their respective ERISA Aﬀiliates has incurred any Withdrawal Liability that has not been satisﬁed in
full. “Withdrawal Liability” means liability to a Multiemployer Plan as a result of a complete or partial
withdrawal from such Multiemployer Plan, as those terms are deﬁned in Part I of Subtitle E of Title IV of
ERISA. There is not now, and to the Knowledge of the Company there are no existing circumstances that
would reasonably be expected to give rise to, any requirement for the posting of security with respect to a
Company Plan or the imposition of any pledge, lien, security interest or encumbrance on assets of the
Company or any of its Subsidiaries or any of their respective ERISA Aﬀiliates under ERISA or the Code, or
similar Laws of foreign jurisdictions. The Company has not incurred any liability under Title IV of ERISA that
has not been satisﬁed in full, and, to the Knowledge of the Company, no condition exists that presents a risk to
the Company of incurring any such liability other than liability for premiums due the Pension Beneﬁt Guaranty
Corporation (the “PBGC”).
   (e) No Proceedings relating to any Company Plan (other than routine claims for beneﬁts in the ordinary
course) are pending or, to the Company’s Knowledge, threatened.

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  (f) Each Company Plan which is intended to be qualiﬁed under Section 401(a) of the Code is so qualiﬁed
and has received a favorable determination letter to that eﬀect from the IRS and, to the Knowledge of the
Company, no circumstances exist which would materially and adversely aﬀect such qualiﬁcation or exemption.
    (g) The execution, delivery and performance by the Company of this Agreement and the consummation of
the transactions contemplated hereby will not (either alone or upon occurrence of any additional or
subsequent events) (i) constitute an event under any Company Plan or any trust or loan related to any of those
plans or agreements that will or may result in any payment, acceleration, forgiveness of indebtedness, vesting,
distribution, increase in beneﬁts or obligation to fund beneﬁts with respect to any Company Employee, or
(ii) result in the triggering or imposition of any restrictions or limitations on the right of the Company or its
Subsidiaries to amend or terminate any Company Plan.
   (h) Except as required under Code Section 4980B and Section 601 et seq. of ERISA, or similar provisions of
applicable state Law, no Company Plan that is a welfare plan within the meaning of Section 3(1) of ERISA
provides beneﬁts or coverage following retirement or other termination of employment. There has been no
communication to employees of the Company or any of its Subsidiaries that promises or guarantees such
employees retiree health or life insurance beneﬁts or other retiree death beneﬁts on a permanent or extended
basis.
   (i) Each Company Plan that is a nonqualiﬁed deferred compensation plan subject to Code Section 409A has
been operated and administered in good faith compliance with such Section 409A from the period beginning
January 1, 2005 through the date hereof.
    (j) Except as would not, individually or in the aggregate, be expected to result in any material liability to the
Company or any of its Subsidiaries taken as a whole, no disallowance of a deduction under Section 162(m) of
the Code for employee reimbursement or compensation of any amount paid or payable by the Company or any
of its Subsidiaries has occurred within the last three ﬁscal years of the Company.
    SECTION 3.11 Labor and Employment Matters. Neither the Company nor any of its Subsidiaries has any
labor contracts or collective bargaining agreements with any persons employed by the Company or any of its
Subsidiaries or any persons otherwise performing services primarily for the Company or any of its
Subsidiaries. To the Knowledge of the Company, there are no unfair labor practice complaints pending against
the Company or any Subsidiary of the Company before the National Labor Relations Board (the “NLRB”) or
any other labor relations tribunal or authority, except for such complaints that would not, individually or in the
aggregate, reasonably be expected to be material to the Company and its Subsidiaries taken as a whole.
There are no strikes, work stoppages, slowdowns, lockouts, arbitrations or grievances, or other labor disputes
pending or, to the Knowledge of the Company, threatened against or involving the Company or its Subsidiaries,
except for such labor disputes that would not, individually or in the aggregate, reasonably be expected to be
material to the Company and its Subsidiaries taken as a whole. No labor organization or group of employees
of the Company or any of its Subsidiaries has made a pending demand for recognition or certiﬁcation. Neither
the Company nor any of its Subsidiaries has experienced any material labor strike, dispute or stoppage or
other material labor diﬀiculty involving its employees since January 1, 2004, and

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there are no representation or certiﬁcation proceedings or petitions seeking a representation proceeding
presently pending or threatened to be brought or ﬁled, with the NLRB or any other labor relations tribunal or
authority, except for such demands, proceedings or petitions that would not, individually or in the aggregate,
reasonably be expected to be material to the Company and its Subsidiaries taken as a whole. Each of the
Company and its Subsidiaries is in compliance with all applicable laws and agreements respecting
employment and employment practices, terms and conditions of employment, wages and hours and
occupational safety and health, except where any failure to comply would not, or would not reasonably be
expected to, individually or in the aggregate have a Material Adverse Eﬀect. Neither the Company nor its
Subsidiaries are liable for any payment to any trust or other fund or to any Governmental Entity, with respect
to unemployment compensation beneﬁts (other than routine payments to be made in the ordinary course of
business consistent with past practice), except where any failure to comply would not or would not reasonably
be expected to, individually or in the aggregate, have a Material Adverse Eﬀect.
    SECTION 3.12 Insurance. All material insurance policies of the Company and its Subsidiaries are listed in
Section 3.12 of the Company Disclosure Schedule. Except as would not, or would not reasonably be expected
to, individually or in the aggregate, have a Material Adverse Eﬀect: (a) all insurance policies of the Company
and its Subsidiaries (i) are in full force and eﬀect, (ii) provide what the Company reasonably believes to be full
and adequate coverage for all normal risks incident to the business of the Company and its Subsidiaries and
their respective properties and assets, and (iii) provide for insurance in such amounts and against such risks
as is suﬀicient to comply with applicable Law; (b) neither the Company nor its Subsidiaries is in breach or
default, and neither the Company nor its Subsidiaries has taken any action or failed to take any action which,
with notice or the lapse of time, would constitute such a breach or default, or permit termination or
modiﬁcation of, any of such insurance policies; and (c) no notice in writing of cancellation or termination has
been received with respect to any such policy except customary notices of cancellation in advance of
scheduled expiration.
   SECTION 3.13 Properties. Except as would not, or would not reasonably be expected to, individually or in
the aggregate, have a Material Adverse Eﬀect, the Company or its Subsidiaries: (i) has good title to all the
tangible personal property reﬂected in the latest audited balance sheet included in the SEC Reports as being
owned by the Company or its Subsidiaries or acquired after the date thereof that are material to the
Company’s business on a consolidated basis (except tangible personal property sold or otherwise disposed of
since the date thereof in the ordinary course of business), free and clear of all Liens, except (A) statutory
Liens for current Taxes or other governmental charges not yet due and payable or the amount or validity of
which is being contested in good faith by appropriate proceedings, (B) Liens arising under worker’s
compensation, unemployment insurance, social security, retirement and similar legislation, (C) other statutory
liens securing payments not yet due including builder, mechanic, warehousemen, materialmen, contractor,
landlord, workmen, repairmen, and carrier Liens, (D) purchase money Liens and Liens securing rental
payments under capital lease arrangements, (E) such imperfections or irregularities of title, claims, liens,
charges, security interests, easements, covenants and other restrictions or encumbrances as do not aﬀect the
use of the properties or assets subject thereto or aﬀected thereby or otherwise impair business operations at
such properties, and (F) mortgages, or deeds of trust, security interests or other encumbrances on title
related to indebtedness reﬂected on the consolidated ﬁnancial statements of the Company; and

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(ii) is the lessee of all leasehold estates reﬂected in the latest audited ﬁnancial statements included in the
SEC Reports or acquired after the date thereof that are material to its business on a consolidated basis
(except for leases that have expired by their terms since the date thereof or been assigned, terminated or
otherwise disposed of in the ordinary course of business consistent with past practice) and which are set forth
on Schedule 3.13 of the Company Disclosure Schedule and is in possession of the properties leased
thereunder, and each such lease is valid without default thereunder by the Company or its Subsidiary, as
applicable, or, to the Knowledge of the Company, by the lessor. The Company has made available to the Parent
true, correct and complete copies of all leases and amendments thereto relating to real property leased to the
Company or any of its Subsidiaries. There are no written or oral leases granting a third party the right of use
or occupancy of any of the real property leased to the Company or any of its Subsidiaries. Neither the
Company nor any of its Subsidiaries owns any real property.
    SECTION 3.14 Tax Matters. (a) Except as would not, or would not reasonably be expected to, individually or
in the aggregate, have a Material Adverse Eﬀect, (i) all Tax Returns required to be ﬁled by or with respect to
the Company and its Subsidiaries have been timely ﬁled (except those under valid extension), and all such Tax
Returns are true, correct and complete in all material respects, (ii) all Taxes of the Company and its
Subsidiaries have been paid or have been adequately provided for on the most recent ﬁnancial statements
included in the SEC Reports, (iii) neither the Company nor its Subsidiaries has received written notice of any
Proceeding against or audit of, or with respect to, any Taxes of the Company or its Subsidiaries that has not
been ﬁnally resolved, and, to the Company’s Knowledge, no audit, examination or other Proceeding in respect
of Taxes involving the Company or its Subsidiaries is being considered by any taxing authority, (iv) there are no
liens for Taxes (other than statutory liens for Taxes not yet due and payable) upon any of the assets of the
Company or its Subsidiaries, (v) neither the Company nor its Subsidiaries has been a “distributing
corporation” or a “controlled corporation” in a distribution intended to qualify under Section 355(a) of the
Code within the past two years or otherwise as part of a “plan (or series of related transactions)” (within the
meaning of Section 355(e) of the Code) of which the Merger is also a part, (vi) neither the Company nor any of
its Subsidiaries is a party to or is bound by any Tax sharing, allocation or indemniﬁcation agreement or
arrangement (other than among the Company and its Subsidiaries), (vii) neither the Company nor any of its
Subsidiaries (A) has been a member of a group ﬁling a consolidated, combined or unitary Tax Return (other
than a group consisting solely of the Company and its Subsidiaries) or (B) has any liability for the Taxes of any
Person (other than a group of which the Company was the common parent) under Treasury regulation section
1.1502-6 (or any similar provision of state, local or foreign Law) (viii) any withholding Taxes required to be
withheld and paid by the Company or any of its Subsidiaries (including withholding of Taxes pursuant to
Sections 1441, 1442, 3121 and 3042 of the Code and similar provisions under any Federal, state, local or
foreign tax laws) have been timely withheld and paid over to the proper governmental authorities as required
under applicable laws and (ix) neither the Company nor any of its Subsidiaries has been a party to a
transaction that, as of the date of this Agreement, constitutes a “reportable transaction” for purposes of
Section 6011 of the Code and applicable Treasury regulations thereunder (or a similar provision of state Law).
    (b) For purposes of this Agreement, “Taxes” shall mean any taxes of any kind, including those on or
measured by or referred to as income, gross receipts, capital, sales, use, ad valorem, franchise, proﬁts,
license, withholding, payroll, employment, excise, severance, stamp,

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occupation, premium, value added, alternative minimum, assessment, property or windfall proﬁts taxes,
customs, duties or similar fees, assessments or charges of any kind whatsoever, together with any interest
and any penalties, additions to tax or additional amounts imposed by any governmental authority, domestic or
foreign. For purposes of this Agreement, “Tax Return” shall mean any return, report, claim for refund,
information return or statement ﬁled or required to be ﬁled with any governmental authority with respect to
Taxes, including any schedule or attachment thereto or amendment thereof.
    SECTION 3.15 Information Supplied. None of the information supplied or to be supplied by the Company
for inclusion or incorporation by reference in (i) the Oﬀer Documents, the Schedule 14D-9 or the Information
Statement will, at the time such document is ﬁled with the SEC, at any time it is amended or supplemented or
at the time it is ﬁrst published, sent or given to the Company’s shareholders, contain any untrue statement of
a material fact or omit to state any material fact required to be stated therein or necessary in order to make
the statements therein, in the light of the circumstances under which they were made, not misleading, or
(ii) the Proxy Statement will, at the date it is ﬁrst mailed to the shareholders of the Company and at the time
of the Shareholders Meeting or at the date of any amendment thereof or supplement thereto, contain any
untrue statement of a material fact or omit to state any material fact required to be stated therein or
necessary in order to make the statements therein, in the light of the circumstances under which they are
made, not misleading. The Schedule 14D-9, the Information Statement and the Proxy Statement, at the date
such Proxy Statement is ﬁrst mailed to shareholders and at the time of the Shareholders Meeting, will comply
as to form in all material respects with the requirements of the Exchange Act and the rules and regulations
promulgated thereunder. Notwithstanding the foregoing, the Company makes no representation or warranty
with respect to any information supplied by Parent or Merger Sub or any of their respective representatives
which is contained or incorporated by reference in the Schedule 14D-9, the Information Statement or the
Proxy Statement.
    SECTION 3.16 Opinion of Financial Advisors. Greenhill & Co., LLC (the “Financial Advisor”) has delivered
to the Board of Directors of the Company its written opinion (or oral opinion to be conﬁrmed in writing), dated
as of the date hereof, that, as of such date, the Oﬀer Price and the Merger Consideration to be received by
holders of the Company Common Stock (for each share of Company Common Stock) pursuant to this
Agreement are fair, from a ﬁnancial point of view, to the holders of the Company Common Stock.
   SECTION 3.17 Brokers. No broker, ﬁnder or investment banker (other than the Financial Advisor) is
entitled to any brokerage, ﬁnder’s or other fee or commission in connection with the transactions
contemplated by this Agreement based upon arrangements made by and on behalf of the Company or its
Subsidiaries, or for which the Company or its Subsidiaries may be ﬁnancially liable. The aggregate fee or
commission payable to the Financial Advisor in connection with the transactions contemplated by this
Agreement is set forth on Schedule 3.17 of the Disclosure Schedules
  SECTION 3.18 Takeover Statutes. Assuming the accuracy of the representations and warranties of Parent
and Merger Sub set forth in Section 4.7, no “fair price”, “moratorium”, “control share acquisition”, “business
combination” or other similar antitakeover statute or regulation enacted under U.S. state or federal laws
applicable to the Company,

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including FBCA § 607.0901 (“aﬀiliated transactions” statute) and § 607.0902 (“control-share acquisitions”
statute) (collectively, the “Anti-Takeover Statute”), is applicable to the Oﬀer, the Merger or the other
transactions contemplated hereby or in the Shareholders Agreement or the Stock Purchase Agreement.
    SECTION 3.19 Intellectual Property. The Company and its Subsidiaries are the sole and exclusive (as to
any third party) owners or assignees of the entire right, title and interest (including the right to sue for and
damages resulting from past infringement) in and to the Intellectual Property set forth on Schedule 3.19(a),
and are licensed perpetually and without royalty or other payment obligations to third parties to the
Intellectual Property set forth on Schedule 3.19(b). The Company and its Subsidiaries own or have the rights
to use, free and clear of any Liens, but subject to any existing licenses or other grants of rights to third parties
(to the extent set forth in Section 3.19(a) or 3.19(b) of the Company Disclosure Schedule), all Intellectual
Property as is necessary and suﬀicient (i) for their businesses as currently conducted and (ii) for the
manufacture, use and sale of the products currently marketed and the products currently in development, by
the Company and its Subsidiaries (collectively, the “Company Intellectual Property Rights ”). Except as would
not individually or in the aggregate, have a Material Adverse Eﬀect, (a) there is no Proceeding pending, or to
the Company’s Knowledge threatened, (i) alleging infringement, misappropriation, violation or dilution by the
Company or its Subsidiaries of any Intellectual Property of a third party or challenging the validity,
enforceability, ownership or use of any of the Intellectual Property set forth in Section 3.19(a) or 3.19(b) of the
Company Disclosure Schedule or the Company Intellectual Property Rights therein and (ii) by the Company or
its Subsidiaries alleging infringement or misappropriation of any Intellectual Property against a third party;
(b) the manufacture, use and sale of its products does not infringe the Intellectual Property rights of any third
party, and, to the Company’s Knowledge, the Company Intellectual Property Rights are not being infringed by
any third party; (c) no Company Intellectual Property Right will terminate or cease to be a valid right of the
Company or its Subsidiaries by reason of the execution and delivery of this Agreement by the Company, the
performance of the Company of its obligations hereunder, or the consummation by the Company of the
Merger; (d) the Company has not granted any license, sublicenses or any other rights in, to or under the
Intellectual Property and (e) to the Company’s Knowledge, all necessary registration, maintenance, and
renewal fees in connection with Company Intellectual Property (including any maintenance fees that are
subject to a surcharge if paid during a grace period) have been paid and all necessary documents and
certiﬁcates in connection therewith have been ﬁled with the relevant patent, copyright, trademark, or other
authority in the United States or in non-U.S. jurisdictions, as the case may be, for the purpose of maintaining
the registrations or applications for registration. The Company has required all current and former employees
of the Company, and consultants to the Company, in each case, (i) who were involved in the development of
any Intellectual Property by, or on behalf of, the Company, to execute agreements that provide for the
assignment to the Company of all inventions and developments relating to such Intellectual Property of the
Company created by them in the course of their employment or consulting engagement with the Company to
the Company, and (ii) who were in possession of any conﬁdential information to execute written agreements
prohibiting the disclosure of such conﬁdential information of the Company. As used in this Agreement,
“Intellectual Property ” means all patents, inventions, copyrights, software, trademarks, trade names, service
marks, logos, designs, and other source identiﬁers, domain names, trade dress, trade secrets and all other
intellectual property and intellectual property rights of any kind or

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nature. For purposes of this Section 3.19, the term “patents” means United States and non-U.S. patents (utility
or design, as applicable), provisional patent applications, non-provisional patent applications, continuations,
continuations-in-part, divisions, any such patents resulting from reissue, reexamination, renewal or extension
(including any supplementary protection certiﬁcate) of any patent, patent disclosures, substitute applications,
and any conﬁrmation patent or registration patent or patent of addition based on any such patent, and all
foreign counterparts of any of the foregoing. For purposes of this Section 3.19, the terms “copyrights,”
“trademarks,” “service marks,” “trade dress,” “logos,” “designs,” and “other source identiﬁers” means all
registered and unregistered U.S. and non-U.S. copyrights, trademarks, service marks, trade dress, logos,
designs, and other source identiﬁers, and all intellectual property rights associated with them, including all
common law rights and applications for registration.
   SECTION 3.20 Environmental Matters. (a) Except as would not, or would not reasonably be expected to,
individually or in the aggregate, have a Material Adverse Eﬀect: (i) the Company and its Subsidiaries comply
with all applicable Environmental Laws, and possess and comply with all applicable Environmental Permits
required under such Environmental Laws to operate as they presently operate; (ii) there are no Materials of
Environmental Concern at any property owned or operated currently or, to the Company’s Knowledge, in the
past ﬁve years by the Company or its Subsidiaries, under circumstances that are reasonably likely to result in
liability of the Company or its Subsidiaries under any applicable Environmental Law; (iii) neither the Company
nor its Subsidiaries has received any written notiﬁcation alleging that it is liable for, or request for information
pursuant to section 104(e) of the Comprehensive Environmental Response, Compensation, and Liability Act or
similar state statute concerning, any release or threatened release of Materials of Environmental Concern at
any location except, with respect to any such notiﬁcation or request for information concerning any such
release or threatened release, to the extent such matter has been resolved with the appropriate Governmental
Entity or otherwise; and (iv) neither the Company nor its Subsidiaries has received any written claim, notice or
complaint, or been subject to any Proceeding, relating to noncompliance with Environmental Laws or any
other liabilities or obligations arising from Materials of Environmental Concern or pursuant to Environmental
Laws, and to the Knowledge of the Company no such Proceeding is threatened.
  (b) Notwithstanding any other representations and warranties in this Agreement, the representations and
warranties in this Section 3.20 are the only representations and warranties in this Agreement with respect to
Environmental Laws, Materials of Environmental Concern or any other environmental matter.
   (c) For purposes of this Agreement, the following terms shall have the meanings assigned below:
  “Environmental Laws” shall mean all foreign, federal, state, or local statutes, regulations, ordinances,
  codes, or decrees protecting the quality of the ambient air, soil, surface water or groundwater, in eﬀect as
  of the date of this Agreement.
  “Environmental Permits” shall mean all permits, licenses, registrations, and other authorizations required
  under applicable Environmental Laws.

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  “Materials of Environmental Concern” shall mean any hazardous, acutely hazardous, or toxic substance
  or waste deﬁned and regulated as such under Environmental Laws, including the federal Comprehensive
  Environmental Response, Compensation, and Liability Act or the federal Resource Conservation and
  Recovery Act, as well as petroleum or any other fraction thereof.
    SECTION 3.21 Contracts. (a) Except for this Agreement and except for Contracts ﬁled as exhibits to the
SEC Reports, as of the date of this Agreement, none of the Company or its Subsidiaries is a party to or bound
by any Contract: (i) that would be required to be ﬁled by the Company as a “material contract” pursuant to
Item 601(b)(10) of Regulation S-K under the Securities Act; (ii) containing covenants binding upon the
Company or its Subsidiaries that restrict the ability of the Company or any of its Subsidiaries (or which,
following the consummation of the Oﬀer or the Merger, would materially restrict the ability of the Surviving
Corporation or its Aﬀiliates) to compete in any business or geographic area; (iii) involving the payment or
receipt of royalties or other amounts of more than $5,000,000 in the aggregate calculated based upon the
revenues or income of the Company or its Subsidiaries or income or revenues related to any product of the
Company or its Subsidiaries; (iv) with any Aﬀiliate; (v) that would prevent, materially delay or materially
impede the Company’s ability to consummate the Oﬀer or the Merger or the other transactions contemplated
by this Agreement; or (vi) that was not negotiated and entered into an arm’s length basis. Each such Contract
described in clauses (i) through (vi) as well as each Contract listed in Section 3.19(a) or 3.19(b) of the
Company Disclosure Schedule is referred to herein as a “Material Contract”.
   (b) Each of the Material Contracts is valid and binding on the Company or its Subsidiaries, as the case may
be, and, to the Knowledge of the Company, each other party thereto and is in full force and eﬀect, except for
such failures to be valid and binding or to be in full force and eﬀect as would not, or would not reasonably be
expected to, individually or in the aggregate, have a Material Adverse Eﬀect. There is no default under any
Material Contract by the Company or its Subsidiaries and no event has occurred that with the lapse of time or
the giving of notice or both would constitute a default thereunder by the Company or its Subsidiaries, in each
case except as would not, or would not reasonably be expected to, individually or in the aggregate, have a
Material Adverse Eﬀect.
    SECTION 3.22 Aﬀiliate Transactions. No Aﬀiliate of the Company or its Subsidiaries is, or is an Aﬀiliate of
a Person that is, a party to any Contract with or binding upon the Company or its Subsidiaries or any of their
respective properties or assets or has any material interest in any material property owned by the Company or
its Subsidiaries or has engaged in any material transaction with any of the foregoing within the last twelve
months preceding the date of this Agreement.

                                                 ARTICLE IV

                                  REPRESENTATIONS AND WARRANTIES OF
                                        PARENT AND MERGER SUB
   Parent and Merger Sub hereby, jointly and severally, represent and warrant to the Company that:

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    SECTION 4.1 Organization. Each of Parent and Merger Sub is a corporation duly organized, validly existing
and in good standing or active status under the laws of the jurisdiction in which it is incorporated and has all
requisite corporate power and authority to own, operate and lease its properties and to carry on its business
as it is now being conducted, except where any failure to be so organized, existing or in good standing or
active status or to have such power or authority would not, or would not reasonably be expected to,
individually or in the aggregate, have a Parent Material Adverse Eﬀect. Each of the Parent and Merger Sub is
duly qualiﬁed or licensed to do business, and is in good standing, in each jurisdiction where the character of
the properties owned, leased or operated by it or the nature of its activities makes such qualiﬁcation or
licensing necessary, except for any failure to be so qualiﬁed or licensed or in good standing which would not,
or would not reasonably be expected to, individually or in the aggregate, have a Parent Material Adverse
Eﬀect. Prior to the date hereof, Parent has provided to the Company the name of the “ultimate parent entity”
for purposes of obtaining the approvals of the Governmental Entities contemplated by this Agreement. “Parent
Material Adverse Eﬀect” means any change, eﬀect, event or occurrence that would reasonably be expected to
(i) prevent or materially delay Parent from performing its obligations under this Agreement in any material
respect or (ii) materially delay consummating the transactions contemplated hereby.
    SECTION 4.2 Authority. Each of Parent and Merger Sub has all necessary corporate power and authority to
execute and deliver this Agreement, to perform its obligations hereunder and to consummate the transactions
contemplated hereby. Parent as sole shareholder of Merger Sub has approved this Agreement. The execution,
delivery and performance of this Agreement by each of Parent and Merger Sub and the consummation by each
of Parent and Merger Sub of the transactions contemplated hereby have been duly and validly authorized by
all necessary action of Parent and Merger Sub, and no other corporate proceedings on the part of Parent or
Merger Sub are necessary to authorize this Agreement, to perform their respective obligations hereunder, or
to consummate the transactions contemplated hereby (other than the ﬁling with the Florida Department of
State, Division of Corporations of the State of Florida of the Articles of Merger as required by the FBCA).
Neither the approval or adoption of this Agreement nor the consummation of the Oﬀer, the Merger or the
other transactions contemplated hereby requires any approval of the shareholders of Parent. This Agreement
has been duly and validly executed and delivered by Parent and Merger Sub and, assuming due authorization,
execution and delivery hereof by the Company, constitutes a legal, valid and binding obligation of each of
Parent and Merger Sub enforceable against each of Parent and Merger Sub in accordance with its terms,
subject to the eﬀects of bankruptcy, insolvency, fraudulent conveyance, reorganization, moratorium and other
similar laws relating to or aﬀecting creditors’ rights generally, general equitable principles (whether
considered in a proceeding in equity or at law) and any implied covenant of good faith and fair dealing.
   SECTION 4.3 No Conﬂict; Required Filings and Consents. (a) The execution, delivery and performance of
this Agreement by Parent and Merger Sub, do not and will not (i) conﬂict with or violate the respective
certiﬁcates or articles of incorporation or bylaws of Parent or Merger Sub, (ii) assuming that all consents,
approvals and authorizations contemplated by clauses (i) through (vii) of subsection (b) below have been
obtained, and all ﬁlings described in such clauses have been made, conﬂict with or violate any Law applicable
to Parent or Merger Sub or by which either of them or any of their respective properties are bound or (iii)
(A) require notice pursuant to, result in any breach or violation of or constitute a default

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(or an event which with notice or lapse of time or both would become a default), (B) result in the loss of a
beneﬁt under, or give rise to any right of termination, cancellation, amendment or acceleration of, or (C) result
in the creation of any Lien on any of the properties or assets of Parent or Merger Sub under, any Contracts to
which Parent or Merger Sub is a party or by which Parent or Merger Sub or any of their respective properties
are bound, except, in the case of clauses (ii) and (iii), for any such notice, conﬂict, violation, breach, default,
acceleration, loss, right or other occurrence which would not, or would not reasonably be expected to
individually or in the aggregate, have a Parent Material Adverse Eﬀect.
    (b) The execution, delivery and performance of this Agreement by each of Parent and Merger Sub and the
consummation of the transactions contemplated hereby by each of Parent and Merger Sub do not and will not
require any notice, consent, approval, authorization or permit of, action by, ﬁling with or notiﬁcation to, any
Governmental Entity, except for (i) the applicable requirements, if any, of the Securities Act and the Exchange
Act and the rules and regulations promulgated thereunder, including the ﬁling of the Oﬀer Documents and
such reports under Sections 13 and 16 of the Exchange Act as may be required in connection with the
transactions contemplated hereby, (ii) the applicable requirements, if any, under state securities, takeover and
“blue sky” laws, (iii) the applicable requirements of the HSR Act, (iv) the applicable requirements of Foreign
Antitrust and Investment Laws, (v) the applicable requirements of Nasdaq and the NYSE, (vi) the ﬁling with
the Florida Department of State, Division of Corporations of the Articles of Merger as required by the FBCA,
(vii) any notices required under the FDA Act or similar laws of jurisdictions other than the United States, and
(viii) any such consent, approval, authorization, permit, action, ﬁling or notiﬁcation the failure of which to
make or obtain would not individually or in the aggregate, have or reasonably be expected to have, a Parent
Material Adverse Eﬀect.
   SECTION 4.4 Information Supplied. None of the information supplied or to be supplied by Parent or Merger
Sub for inclusion or incorporation by reference in (i) the Oﬀer Documents, the Schedule 14D-9 or the
Information Statement will, at the time such document is ﬁled with the SEC, at any time it is amended or
supplemented or at the time it is ﬁrst published, sent or given to the Company’s shareholders, contain any
untrue statement of a material fact or omit to state any material fact required to be stated therein or
necessary in order to make the statements therein, in the light of the circumstances under which they were
made, not misleading, or (ii) the Proxy Statement will, at the date it is ﬁrst mailed to the shareholders of the
Company and at the time of the Shareholders Meeting or at the date of any amendment thereof or supplement
thereto, contain any untrue statement of a material fact or omit to state any material fact required to be
stated therein or necessary in order to make the statements therein, in the light of the circumstances under
which they are made, not misleading. The Oﬀer Documents, will comply as to form in all material respects
with the requirements of the Securities Act and the rules and regulations promulgated thereunder.
Notwithstanding the foregoing, Parent and Merger Sub make no representation or warranty with respect to
any information supplied by the Company or any of its representatives which is contained or incorporated by
reference in the Oﬀer Documents and the Proxy Statement.
  SECTION 4.5 Brokers. No broker, ﬁnder or investment banker (other than Banc of America Securities LLC,
whose fees shall be paid by Parent) is entitled to any brokerage,

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ﬁnder’s or other fee or commission in connection with the transactions contemplated by this Agreement based
upon arrangements made by and on behalf of Parent or Merger Sub.
   SECTION 4.6 Operations of Merger Sub. Merger Sub is a direct, wholly-owned subsidiary of Parent that
has been formed solely for the purpose of engaging in the transactions contemplated hereby and prior to the
Eﬀective Time will have engaged in no other business activities and will have incurred no liabilities or
obligations other than as contemplated herein.
   SECTION 4.7 Ownership of Shares. Neither Parent nor Merger Sub nor any of Parent’s Aﬀiliates owns
(directly or indirectly, beneﬁcially or of record) any Shares or holds any rights to acquire any Shares except
pursuant to this Agreement, the Stock Purchase Agreement and the Shareholder’s Agreement.
   SECTION 4.8 Absence of Litigation. There are no suits, claims, actions, proceedings, arbitrations,
mediations or, to the knowledge of Parent, governmental investigations (“Parent Proceedings”) pending or, to
the knowledge of Parent, threatened against Parent or its Subsidiaries, other than any Parent Proceeding that
would not, or would not reasonably be expected to, individually or in the aggregate, have a Parent Material
Adverse Eﬀect.
   SECTION 4.9 Available Funds. Parent has suﬀicient funds to (i) consummate the Oﬀer, (ii) pay the
aggregate Merger Consideration and (iii) pay any and all fees and expenses in connection with the Oﬀer and
the Merger or the ﬁnancing thereof.

                                                   ARTICLE V

                              CONDUCT OF BUSINESS PENDING THE MERGER
    SECTION 5.1 Conduct of Business of the Company Pending the Merger. The Company covenants and
agrees that, during the period from the date hereof until the Eﬀective Time, except as contemplated by this
Agreement, as set forth in the Company Disclosure Schedule or as required by Law, or unless Parent shall
otherwise consent in writing, the business of the Company and its Subsidiaries shall be conducted in its
ordinary course of business and the Company shall use its reasonable best eﬀorts to preserve intact its
business organization, and to preserve its present relationships with customers, suppliers, employees,
licensees, licensors, partners and other Persons with which it has signiﬁcant business relations. Without
limiting the generality of the foregoing, between the date of this Agreement and the Eﬀective Time, except as
otherwise contemplated by this Agreement, as set forth in the Company Disclosure Schedule or as required by
Law, neither the Company nor any of its Subsidiaries shall without the prior written consent of Parent (which
consent shall (x) be in the sole discretion of Parent with respect to those actions prohibited by subsections (a),
(b), (c), (d), (j), (q) and (s) with respect to actions pertaining to the foregoing subsections and (y) not be
unreasonably withheld or delayed with respect to those actions prohibited by the remaining subsections with
respect to actions pertaining thereto):
   (a) amend or otherwise change its Articles of Incorporation or Bylaws or any similar governing instruments;

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    (b) issue, deliver, sell, pledge, dispose of or encumber any shares of capital stock, voting securities, or
other equity interests, or any options, warrants, convertible securities or other rights of any kind to acquire or
receive any shares of capital stock, voting securities, or other equity interests (including stock appreciation
rights, phantom stock or similar instruments), of the Company or any of its Subsidiaries (except for the
issuance of Shares upon the exercise of Options, in connection with other stock-based awards outstanding as
of the date hereof or pursuant to the ESPP or the Company’s 401(k) Plan or in connection with the exercise of
warrants granted under the Revolving Credit and Loan Agreement or the PharmaBio Warrant and except for
the grant of Options and Restricted Company Common Stock as permitted pursuant to Section 5.1(j);
   (c) declare, set aside, make or pay any dividend or other distribution, payable in cash, stock, property or
otherwise, with respect to any of its capital stock other than dividends or distributions by a direct or indirect
wholly-owned Subsidiary to its parent;
    (d) adjust, recapitalize, reclassify, combine, split, subdivide, redeem, purchase or otherwise acquire any
shares of capital stock of the Company or any Subsidiary that is not wholly-owned (other than in connection
with the forfeiture or exercise of equity-based awards, Options or Restricted Company Common Stock in
accordance with existing agreements or terms (or awards, Options or Restricted Company Common Stock that
is granted after the date hereof in compliance with Sections 5.1(b) and 5.1(j), or adjust, recapitalize, reclassify,
combine, split or subdivide any capital stock or other ownership interests of the Company or any of its
Subsidiaries;
    (e) (i) acquire (whether by merger, consolidation or acquisition of stock or assets or otherwise) any
corporation, partnership or other business organization or division (whether by acquisition of assets or
otherwise), in each case, with a value in excess of $1,000,000 individually or $5,000,000 in the aggregate,
(ii) enter into any new line of business, (iii) make any capital contribution or investment in any Company Joint
Venture except as required pursuant to terms in eﬀect as of the date of this Agreement or (iii) create any
Subsidiaries;
   (f) directly or indirectly sell or otherwise dispose of (whether by merger, consolidation or acquisition of
stock or assets or otherwise) any of its assets or properties (including any corporation, partnership or other
business organization or division thereof or any assets thereof), with a value in excess of $1,000,000 other
than sales or dispositions of inventory in the ordinary course of business consistent with past practice;
   (g) (A) enter into or renew or amend (i) any contract or arrangement with revenues or payments in excess
of $1,000,000 other than in the ordinary course of business consistent with past practice, unless such contract
or arrangement is terminable without penalty upon the Company or its Subsidiaries giving no more than
90 days’ notice or (ii) any joint venture, partnership or other similar arrangement or (B) engage in any
transaction or series of transactions with any Aﬀiliate;
    (h) authorize any new capital expenditures, other than expenditures in amounts not more than $7,500,000
in the aggregate;

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   (i) incur or modify in any material respect the terms of any indebtedness for borrowed money, or assume,
guarantee or endorse, or otherwise as an accommodation become responsible for, the obligations of any
Person, or make any loans or advances to any other Person (other than a Subsidiary of the Company) in an
amount exceeding $2,000,000 in the aggregate;
   (j) except to the extent required under any Company Plan that is in eﬀect as of the date hereof or as
required by applicable Law, (i) increase the compensation or beneﬁts of any of its directors or oﬀicers
(including the payment of bonuses (other than the payment of bonuses and commissions for 2006 prior to the
consummation of the Oﬀer, whether in Options or Restricted Company Common Stock granted under a
Company Plan in eﬀect on the date hereof or in cash, which bonuses and commissions shall be consistent with
past practice in terms of amounts and, in no event, with an aggregate cash value in excess of the amount set
forth on Schedule 5.1(j) of the Company Disclosure Schedule) and the granting of stock options, stock
appreciation rights, restricted shares, restricted share units or performance units or shares), other than
annual adjustments in 2007 to compensation and beneﬁts in the ordinary course of business consistent with
past practice; (ii) grant or pay any severance or termination pay not provided for under any plan, policy,
guideline or agreement in eﬀect on or prior to the date hereof; (iii) enter into, amend or modify the terms of
any employment, consulting, change of control, indemniﬁcation, termination or severance agreement or
arrangement with any of its present or former directors or oﬀicers, or establish, adopt, enter into or materially
amend or terminate any Company Plan or collective bargaining agreement; or (iv) accelerate the vesting or
time of payment of any compensation or beneﬁts of any director, oﬀicer, employee or consultant or fund or
make any contribution to any Company Plan or trust not required to be funded;
   (k) make any material change in any ﬁnancial or regulatory accounting principles, except as may be
appropriate to conform to changes in statutory or regulatory accounting rules or GAAP or regulatory
requirements with respect thereto;
     (l) (i) make, change or revoke any material Tax election or, except as required by applicable Law, change
any method of Tax accounting, (ii) enter into any settlement or compromise of any material Tax liability,
(iii) ﬁle any amended Tax Return with respect to any material Tax, (iv) change any annual Tax accounting
period, (v) enter into any closing agreement relating to any material Tax, (vi) claim or surrender any right to
claim a material Tax refund or (vii) become a party to a transaction that constitutes a “reportable transaction”
for purposes of Section 6011 of the Code and applicable Treasury regulations thereunder (or a similar
provision of state Law);
    (m) agree to or otherwise settle, compromise or otherwise resolve in whole or in part any litigation,
actions, suits, actual, potential or threatened claims, investigations or proceedings, whether pending on the
date hereof or hereafter made or brought, which settlement or compromise would, in any single case, result in
(i) damages, ﬁnes or other penalties payable to or by the Company or its Subsidiaries in excess of $1,000,000
or (ii) non-monetary relief, including debarment, corporate integrity agreements, any other undertaking of any
kind, deferred prosecution agreements, consent decrees, plea agreements or mandatory or permissive
exclusion;

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   (n) abandon, sell, license (except in the ordinary course of business consistent with past practice), assign or
grant any Lien in or to any material item of Company Intellectual Property Rights or any other material assets;
    (o) enter into, modify, amend, extend or terminate, or waive, release or assign any material rights or claims
with respect to any Material Contract or any Contract that would have been deemed to be a Material Contract
if entered into prior to the date hereof;
   (p) enter into or amend any conﬁdentiality agreements or arrangements, other than in the ordinary course
of business consistent with past practice (other than as permitted by Section 6.4(a));
    (q) waive or fail to enforce any provisions under any conﬁdentiality agreement, standstill agreement or
similar arrangements, other than (x) in the ordinary course of business consistent with past practice, and (y) in
accordance with a good faith determination of the Board of Directors of the Company, after consultation with
its outside counsel, that the failure to take such action would be reasonably likely to result in a breach of its
ﬁduciary duties to the Company’s shareholders, provided, in the case of this clause (y), that prior to waiving or
failing to enforce any such provision, the Company shall provide Parent with no less than two Business Days
(or, if shorter, such number of Business Days remaining prior to the Expiration Date) notice of such action,
which notice shall include the identity of the Person requesting such waiver and any material terms of such
request;
   (r) take any action that would make the timely satisfaction of condition (c) set forth in Exhibit A impossible
or unlikely; and
   (s) resolve or agree to take any of the actions described in Sections 5.1(a) through 5.1(r).

                                                   ARTICLE VI

                                          ADDITIONAL AGREEMENTS
    SECTION 6.1 Shareholders Meeting. (a) If the approval of this Agreement by the Company’s shareholders
is required by Law, then the Company shall, at Parent’s request, as soon as practicable following the
expiration of the Oﬀer, acting through its Board of Directors, (i) take all action necessary to duly call, give
notice of, convene and hold a meeting of its shareholders for the purpose of approving this Agreement (the
“Shareholders Meeting”) and (ii) except to the extent that the Company’s Board of Directors has eﬀected an
Adverse Recommendation Change in accordance with the terms of Section 6.4(b), include in the Proxy
Statement the Merger Recommendation. Notwithstanding the foregoing, if Merger Sub or any other subsidiary
of Parent shall acquire at least 80% of the outstanding shares of each series of capital stock of the Company,
the parties shall, at the request of Parent, take all necessary and appropriate action to cause the Merger to
become eﬀective as soon as practicable after the expiration of the Oﬀer without a shareholders meeting in
accordance with Section 607.1104 of the FBCA.

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  (b) Parent shall cause all Shares purchased pursuant to the Oﬀer and all other Shares owned by Parent,
Merger Sub or any other subsidiary of Parent to be voted in favor of the approval of this Agreement.
    SECTION 6.2 Proxy Statement. If (a) the approval of this Agreement by the Company’s shareholders is
required by Law, then the Company shall, at Parent’s request, as soon as practicable following the expiration
of the Oﬀer, or (b) the Publication Date does not occur on or prior to November 17, 2006, then the Company
shall promptly thereafter, prepare and ﬁle with the SEC the Proxy Statement to be sent to the shareholders of
the Company in connection with the Shareholders Meeting and other solicitation materials of Parent and the
Company constituting a part thereof and related documents. Parent, Merger Sub and the Company will
cooperate and consult with each other and their respective counsel in the preparation of the Proxy Statement
and the related materials. Without limiting the generality of the foregoing, Parent will furnish to the Company
the information relating to it required by the Exchange Act and the rules and regulations promulgated
thereunder to be set forth in the Proxy Statement. The Company shall not ﬁle the preliminary Proxy Statement
or any related materials, or any amendment or supplement thereto, without (i) providing the Parent a
reasonable opportunity to review and comment thereon and (ii) including therein any comments reasonably
proposed by Parent. Each party shall use its reasonable best eﬀorts to resolve, and each party agrees to
consult and cooperate with the other party in resolving, all SEC comments with respect to the preliminary
Proxy Statement as promptly as practicable after receipt thereof and to cause the Proxy Statement in
deﬁnitive form to be cleared by the SEC and mailed to the Company’s shareholders as promptly as reasonably
practicable following ﬁling with the SEC. Each party agrees to consult with the other party prior to responding
to SEC comments with respect to the preliminary Proxy Statement. Each of Parent, Merger Sub and the
Company agrees to correct any information provided by it for use in the Proxy Statement which shall have
become false or misleading. Each party shall as soon as reasonably practicable (i) notify the other parties of
the receipt of any comments from the SEC with respect to the Proxy Statement and any request by the SEC for
any amendment to the Proxy Statement or for additional information and (ii) provide each other party with
copies of all correspondence between a party and its employees and other authorized representatives, on the
one hand, and the SEC, on the other hand, with respect to the Proxy Statement.
   SECTION 6.3 Access to Information; Conﬁdentiality. (a) From the date hereof to the Eﬀective Time or the
earlier termination of this Agreement, upon reasonable prior written notice, the Company shall, and shall
cause its Subsidiaries, oﬀicers, directors, employees and representatives to, aﬀord the oﬀicers, employees
and representatives of Parent reasonable access, consistent with applicable Law, at all reasonable times to its
oﬀicers, directors, employees, representatives, properties, oﬀices, plants and other facilities and to all books
and records of the Company and its Subsidiaries, and shall furnish Parent with all ﬁnancial, operating and
other data and information as Parent, through its oﬀicers, employees or representatives, may from time to
time reasonably request in writing. Notwithstanding the foregoing, any such investigation or consultation shall
not include any intrusive testing or environmental sampling of any kind and shall be conducted in such a
manner as not to interfere unreasonably with the business or operations of the Company or its Subsidiaries or
otherwise result in any signiﬁcant interference with the prompt and timely discharge by such employees of
their normal duties. Neither the Company nor its Subsidiaries shall be required to provide access to or to
disclose

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information where such access or disclosure would violate or prejudice the rights of its clients, jeopardize the
attorney-client privilege of the Company or its Subsidiaries or contravene any Law or binding agreement
entered into prior to the date of this Agreement. No investigation pursuant to this Section 6.3 or otherwise
shall aﬀect any representation or warranty in this Agreement or any condition to the obligations of the parties
hereto.
   (b) Each of Parent and Merger Sub will hold and treat and will cause its oﬀicers, employees, auditors and
other authorized representatives to hold and treat in conﬁdence all documents and information concerning the
Company and its Subsidiaries furnished to Parent or Merger Sub in connection with the transactions
contemplated by this Agreement in accordance with the Conﬁdentiality Agreement, dated September 26, 2006,
between the Company and Parent (the “Conﬁdentiality Agreement”), which Conﬁdentiality Agreement shall
remain in full force and eﬀect in accordance with its terms.
    SECTION 6.4 Acquisition Proposals. (a) The Company agrees that (i) it and its oﬀicers and directors shall
not, (ii) it shall cause its Subsidiaries and its Subsidiaries’ oﬀicers and directors not to, and (iii) it shall cause
its and its Subsidiaries’ agents and representatives not to, in each case (A) directly or indirectly, initiate, solicit
or knowingly, encourage or facilitate (including by way of furnishing information) any inquiries or the making
of any proposal or oﬀer with respect to the direct or indirect acquisition, including by way of a tender oﬀer,
exchange oﬀer, merger, consolidation or other business combination, of (x) an equity interest representing a
15% or greater economic or voting interest in the Company, (y) the assets, securities or other ownership
interests of or in the Company or its Subsidiaries representing 15% or more of the consolidated assets of the
Company and its Subsidiaries or (z) any other transaction the consummation of which would reasonably be
expected to prevent or materially delay the Company from performing its obligations under this Agreement in
any material respect or materially delay consummating the transactions contemplated hereby, other than, in
the case of clauses (x), (y) and (z), the transactions contemplated by this Agreement (any such proposal or
oﬀer being hereinafter referred to as an (“Acquisition Proposal”), (B) directly or indirectly, engage in any
discussions or negotiations concerning, provide access to its properties or furnish or provide access to its,
books and records or any conﬁdential information or data to, any Person relating to, an Acquisition Proposal
or (C) otherwise cooperate in any way with, or assist or participate in, facilitate or encourage, any eﬀort or
attempt by any other Person to do or seek to do any of the foregoing; provided, however, that if the Board of
Directors of the Company, in good faith, and after consultation with outside counsel and ﬁnancial advisors,
determines that the failure to take such action would be reasonably likely to result in a breach of its ﬁduciary
duties to the Company’s shareholders under applicable Law, then at any time prior to the acceptance for
payment of Shares pursuant to the Oﬀer, the Company and its representatives may, in response to a written
Acquisition Proposal that the Board of Directors of the Company determines, in good faith, after consultation
with outside counsel and ﬁnancial advisors, constitutes, or would reasonably be expected to lead to, a
Superior Proposal, and which Acquisition Proposal did not result from a breach of this Section 6.4(a),
(1) provide access or furnish information with respect to the Company and its Subsidiaries to the Person
making such Acquisition Proposal (and its representatives) pursuant to a customary conﬁdentiality agreement
that is no less restrictive than the Conﬁdentiality Agreement (including in respect of standstill provisions) and
(2) engage in discussions or negotiations with the Person making such Acquisition Proposal (and its
representatives) regarding such Acquisition Proposal; provided further, however, that, subject to

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the right of the Company to withhold information where such disclosure would contravene any Law, the
Company shall promptly provide to Parent any non-public information that is provided to the Person making
such Acquisition Proposal or its representatives which was not previously provided to Parent or Merger Sub.
The Company and its Subsidiaries will, and will cause their respective agents and representatives to,
immediately cease and cause to be terminated any existing activities, discussions or negotiations with any
Persons conducted heretofore with respect to any Acquisition Proposal and will require that any such Person
shall promptly return or destroy any conﬁdential information of the Company or its Subsidiaries in its
possession. The Company shall also promptly (within 24 hours and, in any event, prior to taking any action
contemplated by clause (1) or (2) of this Section 6.4(a)) notify Parent of the receipt of any Acquisition Proposal
or any inquiry, proposal or oﬀer that is reasonably likely to lead to an Acquisition Proposal after the date
hereof, which notice shall include the identity of the Person making such Acquisition Proposal or other inquiry,
proposal or oﬀer and the material terms and conditions thereof, and will keep Parent promptly and reasonably
apprised of any related material developments, discussions and negotiations related thereto.
    For purposes of this Agreement, the term “Superior Proposal” means any written oﬀer that did not result
from a breach of this Section 6.4(a) made by a third party that the Board of Directors of the Company
reasonably determines to be bona ﬁde for a transaction that if consummated, would result in such third party
(or in the case of a direct merger between such third party and the Company, the shareholders of such third
party) acquiring, directly or indirectly, more than 60% of the voting power of the Company Common Stock (or,
in the case of a direct merger, the common stock of the resulting company) or all or substantially all the
consolidated assets of the Company and its subsidiaries for consideration consisting of cash and/or securities
payable to holders of shares of Company Common Stock that the Board of Directors of the Company
determines in good faith, after consultation with its ﬁnancial advisors, to be more favorable to holders of
Company Common Stock than the Merger, taking into account all ﬁnancial, regulatory, legal and other aspects
of such oﬀer and transaction (including the likelihood of prompt completion) and any changes to the terms of
this Agreement proposed by Parent in response to such Superior Proposal or otherwise.
    (b) The Board of Directors of the Company shall not (i) withdraw or modify in a manner adverse to Parent
or Merger Sub, or propose publicly to withdraw or modify in a manner adverse to Parent or Merger Sub, the
Oﬀer Recommendation or the Merger Recommendation or resolve, agree or propose publicly to take any such
action (any such action or any such resolution or agreement to take such action being referred to herein as an
“Adverse Recommendation Change”), unless at any time prior to the acceptance for payment of Shares
pursuant to the Oﬀer, the Board of Directors of the Company determines in good faith and after consultation
with its outside counsel, that the failure to take such action would be reasonably likely to result in a breach of
its ﬁduciary duties to the Company’s shareholders; provided that the Company shall provide Parent with no
less than two Business Days (or, if shorter, such number of Business Days remaining prior to the Expiration
Date) notice of any expected Adverse Recommendation Change prior to any such change, (ii) recommend,
adopt, or approve any Acquisition Proposal or propose publicly to recommend, adopt or approve any
Acquisition Proposal or resolve or agree to take any such action or (iii) cause or permit the Company to enter
into any letter of intent, memorandum of understanding, agreement in principle, acquisition agreement,
merger agreement, option agreement, joint venture agreement, partnership agreement

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or other agreement (each, an “Acquisition Agreement”) constituting or related to, or which is intended to or is
reasonably likely to lead to, any Acquisition Proposal (other than a conﬁdentiality agreement entered into in
accordance with Section 6.4(a)) or resolve, agree or publicly propose to take any such action.
    (c) Nothing contained in this Section 6.4 or elsewhere in this Agreement shall prohibit the Company from
(i) taking and disclosing to its shareholders a position contemplated by Rule 14d-9 and 14e-2(a) promulgated
under the Exchange Act or (ii) making any disclosure to the Company’s shareholders if, in the good faith
judgment of the Board of Directors of the Company, after receipt of advice from its outside counsel, failure so
to disclose would be inconsistent with its ﬁduciary duties or applicable Law, provided that this Section 6.4(c)
will not aﬀect the obligations of the Company and its Board of Directors under Sections 6.4(a) and 6.4(b);
provided, further, that (x) any such disclosure made pursuant to this Section 6.4(c) (other than a “stop, look
and listen” letter or similar communication of the type contemplated by Rule 14d-9(f) under the Exchange Act)
shall not be deemed to be an Adverse Recommendation Change so long as the Board of Directors of the
Company expressly reaﬀirms in such disclosure its Oﬀer Recommendation and its Merger Recommendation
and (y) the Company shall provide Parent with no less than one Business Day (or, if shorter, such number of
hours remaining prior to the Expiration Date) notice of such disclosure prior to any such disclosure.
    SECTION 6.5 Employment and Employee Beneﬁts Matters. (a) Parent shall cause the Surviving
Corporation and its Subsidiaries, for the period commencing at the Eﬀective Time and ending on the date that
is 12 months after the Eﬀective Time, to maintain for and provide to any Company Employee the compensation
and employee beneﬁts maintained and provided to the Company Employees immediately prior to the date of
this Agreement (subject to modiﬁcations and increases permitted by Section 5.1) and at levels in the
aggregate that are no less valuable than those maintained for and provided immediately prior to the date of
this Agreement (subject to modiﬁcations and increases permitted by Section 5.1); provided that incentive
compensation will be discretionary or based on performance.
   (b) As of and after the Eﬀective Time, Parent will, or will cause the Surviving Corporation to, give Company
Employees who are employed by Parent or its Subsidiaries immediately following the Eﬀective Time full credit
for purposes of eligibility and vesting and beneﬁt accruals (but not for purposes of beneﬁt accruals under any
deﬁned beneﬁt pension plans or to the extent this credit would result in a duplication of beneﬁts for the same
period of service and not where past service credit was not provided for other new participants in such Parent
Plans), under any employee beneﬁt (including vacation) plans, programs, policies and arrangements
maintained for the beneﬁt of Company Employees as of and after the Eﬀective Time by Parent, its Subsidiaries
or the Surviving Corporation for the Company Employees’ pre-Eﬀective Time service with the Company, its
Subsidiaries and their predecessor entities (each, a “Parent Plan”) to the same extent recognized by the
Company immediately prior to the Eﬀective Time. With respect to each Parent Plan that is a “welfare beneﬁt
plan” (as deﬁned in Section 3(1) of ERISA), Parent or its Subsidiaries shall (i) cause there to be waived any
pre-existing condition or eligibility limitations to the same extent waived by the Company and its Subsidiaries
under the comparable Company Plans and (ii) give eﬀect, in determining any deductible and maximum out-of-
pocket limitations with respect to the plan year in which the Eﬀective Time occurs, to claims incurred and
amounts paid by, and amounts reimbursed to,

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Company Employees, in each case under similar plans maintained by the Company and its Subsidiaries
immediately prior to the Eﬀective Time.
   (c) Parent acknowledges and agrees that the consummation of the Merger shall constitute a “Change in
Control” for purposes of each Company Plan listed in Section 6.5(c) of the Company Disclosure Schedule.
From and after the Eﬀective Time, Parent will honor, and will cause its Subsidiaries to honor, in accordance
with its terms, each Company Plan listed in Section 3.10(a) of the Company Disclosure Schedule; provided,
however, that nothing herein shall prevent the amendment, suspension or termination of any Company Plan
pursuant to its terms or interfere with the Parent’s or Surviving Corporation’s right or obligation to make such
changes as are necessary to conform with applicable Law.
   (d) Parent shall provide to Company Employees the severance beneﬁts set forth in Section 6.5(d) of the
Company Disclosure Schedule on the terms and conditions set forth therein, except with respect to any Person
that is a party to a Change in Control Severance Agreement. Nothing contained herein shall prevent Parent
from terminating the employment of any Company Employee.
    SECTION 6.6 Directors’ and Oﬀicers’ Indemniﬁcation and Insurance. (a) Without limiting any additional
rights that any Person may have under any agreement or Company Plan, from and after the Eﬀective Time, the
Surviving Corporation shall indemnify and hold harmless each present (as of the Eﬀective Time) and former
oﬀicer and director of the Company and its Subsidiaries (the “Indemniﬁed Parties”), against all claims, losses,
liabilities, damages, judgments, inquiries, ﬁnes and reasonable fees, costs and expenses, including reasonable
attorneys’ fees and disbursements (collectively, “Costs”), incurred in connection with any Proceeding, whether
civil, criminal, administrative or investigative, arising out of or pertaining to the fact that the Indemniﬁed Party
is or was an oﬀicer, director, employee, ﬁduciary or agent of the Company or its Subsidiaries, whether
asserted or claimed prior to, at or after the Eﬀective Time, to the fullest extent permitted under applicable
Law and the Company’s Articles of Incorporation or Bylaws as at the date hereof. In the event of any such
Proceeding, each Indemniﬁed Party will be entitled to advancement of expenses incurred in the defense of the
Proceeding from Parent or the Surviving Corporation within ten Business Days of receipt by Parent or the
Surviving Corporation from the Indemniﬁed Party of a request therefor to the extent as would be required
under the Company’s Articles of Incorporation or Bylaws as at the date hereof and is permitted by the FBCA;
provided that any Person to whom expenses are advanced provides an undertaking to repay such advances if it
is ultimately determined that such Person is not entitled to indemniﬁcation; provided further that neither
Parent nor the Surviving Corporation shall be required to indemnify or advance expenses to any Indemniﬁed
Party in connection with a Proceeding (or part thereof) initiated by such Indemniﬁed Party unless such
Proceeding (or part thereof) was or is authorized by the Board of Directors of Parent or the Surviving
Corporation.
   (b) Except as may be required by applicable Law, Parent and the Company agree that all rights to
indemniﬁcation and exculpation from liabilities for acts or omissions occurring at or prior to the Eﬀective Time
(and rights for advancement of expenses) now existing in favor of the current or former directors or oﬀicers of
the Company and its Subsidiaries as provided in their respective articles of incorporation or bylaws (or
comparable

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organizational documents) shall be assumed by the Surviving Corporation in the Merger, without further
action, at the Eﬀective Time and shall survive the Merger and shall continue in full force and eﬀect in
accordance with their terms.
     (c) Parent shall, or shall cause the Surviving Corporation to, obtain a six year “tail” insurance policy that
provides coverage on terms no less favorable than the coverage provided under the Company’s directors and
oﬀicers insurance policy in eﬀect on the date of this Agreement for the Persons who are covered by such
policy on the date of this Agreement for events occurring prior to the Eﬀective Time; provided, however,
neither Parent nor the Surviving Corporation shall be required to pay more than $5,000,000 to purchase such
policy; and provided further, however, as an alternative, Parent and/or the Surviving Corporation shall have
opportunity to purchase a substitute policy which (i) has an eﬀective term of six years from the Eﬀective Time,
(ii) covers those persons who are currently covered by the Company’s directors’ and oﬀicers’ insurance policy
in eﬀect as of the date hereof for actions and omissions occurring on or prior to the Eﬀective Time, and
(iii) contains terms and conditions that are no less favorable to the insured than those of the Company’s
directors’ and oﬀicers’ insurance policy in eﬀect as of the date hereof.
   (d) This covenant is intended to be for the beneﬁt of, and shall be enforceable by, each of the Indemniﬁed
Parties and their respective heirs and legal representatives. The indemniﬁcation provided for herein shall not
be deemed exclusive of any other rights to which an Indemniﬁed Party is entitled, whether pursuant to Law,
contract or otherwise.
   (e) In the event that the Surviving Corporation or its successors or assigns (i) consolidates with or merges
into any other Person and shall not be the continuing or surviving corporation or entity of such consolidation or
merger or (ii) transfers or conveys all or a majority of its properties and assets to any Person, then, and in
each such case, proper provision shall be made so that the successors and assigns of the Surviving
Corporation shall succeed to the obligations set forth in this Section 6.6.
   (f) Parent shall pay all reasonable expenses, including reasonable attorneys’ fees, that may be incurred by
any Indemniﬁed Party in successfully enforcing the indemnity and other obligations provided in this
Section 6.6.
   SECTION 6.7 Further Action; Eﬀorts. (a) Subject to the terms and conditions of this Agreement, each party
will use reasonable best eﬀorts to take, or cause to be taken, all actions and to do, or cause to be done, all
things necessary, proper or advisable under applicable laws and regulations to consummate the Oﬀer, the
Merger, the Investments Stock Purchase and the other transactions contemplated by this Agreement as
promptly as practicable and no party hereto shall take or cause to be taken any action which would reasonably
be expected to prevent, impede or delay the consummation of the Oﬀer, the Merger or the Investments Stock
Purchase. In furtherance and not in limitation of the foregoing, each party hereto agrees to make appropriate
ﬁlings under any Antitrust Law, including an appropriate ﬁling of a Notiﬁcation and Report Form pursuant to
the HSR Act with respect to the transactions contemplated hereby as promptly as practicable, to supply as
promptly as reasonably practicable any additional information and documentary material that may be
requested pursuant to the HSR Act, and to take all other actions necessary, proper or advisable to cause the
expiration or

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termination of the applicable waiting periods under the HSR Act as soon as practicable, including by
requesting early termination of the waiting period provided for in the HSR Act.
    (b) Each of Parent and Merger Sub, on the one hand, and the Company, on the other hand, shall, in
connection with the eﬀorts referenced in Section 6.7(a) to obtain all requisite approvals and authorizations for
the transactions contemplated by this Agreement under the HSR Act or any other Antitrust Law, use
reasonable best eﬀorts to (i) cooperate in all respects with each other in connection with any ﬁling or
submission and in connection with any investigation or other inquiry, including any proceeding initiated by a
private party; (ii) keep the other party reasonably informed, including by providing the other party with a copy,
of any communication received by such party from, or given by such party to, the Federal Trade Commission
(the “FTC”), the Antitrust Division of the Department of Justice (the “DOJ”) or any other U.S. or foreign
Governmental Entity and of any communication received or given in connection with any proceeding by a
private party, in each case regarding any of the transactions contemplated hereby; and (iii) permit the other
party to review in advance any communication planned to be given by it to, and consult with each other in
advance of any meeting or conference with, the FTC, the DOJ or any other U.S. or foreign Governmental Entity
or, in connection with any proceeding by a private party, with any other Person, and to the extent permitted by
the FTC, the DOJ or such other applicable Governmental Entity or other Person, give the other party or its
representatives the opportunity to attend and participate in such meetings and conferences. Notwithstanding
the foregoing, the Company and Parent may, as each deems advisable and necessary, reasonably designate
any competitively sensitive material provided to the other under this Section 6.7(b) as “Antitrust Counsel Only
Material.” Such materials and the information contained therein shall be given only to the outside counsel
regarding Antitrust Law of the recipient and will not be disclosed by outside counsel to employees, oﬀicers,
directors or consultants of the recipient or any of its aﬀiliates unless express permission is obtained in
advance from the source of the materials (the Company or Parent as the case may be) or its legal counsel.
Each of the Company and Parent shall cause their respective outside counsel regarding Antitrust Law to
comply with this Section 6.7(b). Notwithstanding anything to the contrary in this Section 6.7(b), materials
provided to the other party or its counsel may be redacted to remove references concerning the valuation of
the Company and privileged communications. For purposes of this Agreement, “Antitrust Law” means the
Sherman Antitrust Act of 1890, as amended, the Clayton Act of 1914, as amended, the HSR Act, the Federal
Trade Commission Act, as amended, Foreign Antitrust and Investment Laws, and all other Laws that are
designed or intended to prohibit, restrict or regulate actions having the purpose or eﬀect of monopolization or
restraint of trade or lessening of competition through merger or acquisition.
    (c) In furtherance and not in limitation of the covenants of the parties contained in Sections 6.7(a) and (b),
if any objections are asserted with respect to the transactions contemplated hereby under any Antitrust Law
or if any suit is instituted (or threatened to be instituted) by the FTC, the DOJ or any other U.S. or foreign
Governmental Entity or any private party challenging any of the transactions contemplated hereby as violative
of any Antitrust Law or which would otherwise prevent, materially impede or materially delay the
consummation of the transactions contemplated hereby, each of Parent, Merger Sub and the Company shall
use reasonable best eﬀorts to resolve any such objections or suits so as to permit consummation of the
transactions contemplated by this Agreement.

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   (d) Subject to the limitations set forth in Section 6.7(c), in the event that any administrative or judicial
investigation, suit, action or other proceeding is instituted (or threatened to be instituted) by a Governmental
Entity or private party challenging the Oﬀer, the Merger, the Investments Stock Purchase or any other
transaction contemplated by this Agreement, or any other agreement contemplated hereby, or that otherwise
would reasonably be expected to prevent, impede or delay the Oﬀer, the Merger, the Investments Stock
Purchase or any such transaction or the satisfaction of any condition set forth in Exhibit A or Article VII, each
of Parent, Merger Sub and the Company shall cooperate in good faith with each other and use its respective
reasonable best eﬀorts to contest and resist any such action or proceeding and to have vacated, lifted,
reversed or overturned any decree, judgment, injunction or other order, whether temporary, preliminary or
permanent, that is in eﬀect and that prohibits, prevents or restricts consummation of the transactions
contemplated by this Agreement.
   SECTION 6.8 Public Announcements. Each of the Company, Parent and Merger Sub agrees that no public
release or announcement concerning the transactions contemplated hereby shall be issued by any party
without the prior written consent of the Company and Parent (which consent shall not be unreasonably
withheld or delayed), except as such release or announcement may be required by Law or the rules or
regulations of any applicable Governmental Entity to which the relevant party is subject, wherever situated, in
which case the party required to make the release or announcement shall use its reasonable best eﬀorts to
allow each other party reasonable time to comment on such release or announcement in advance of such
issuance, it being understood that the ﬁnal form and content of any such release or announcement, to the
extent so required, shall be at the ﬁnal discretion of the disclosing party.
   SECTION 6.9 Notiﬁcation. From and after the date of this Agreement until the earlier of the Eﬀective Time
or the termination of this Agreement pursuant to and in accordance with Section 8.1, the Company and Parent
shall promptly notify each other orally and in writing of the occurrence, or non-occurrence, of any event that,
individually or in the aggregate, would make the timely satisfaction of any of the conditions set forth in
Exhibit A, Sections 7.1 and 7.2 impossible or unlikely. This Section 6.9 shall not constitute an obligation,
covenant or agreement for purposes of Section 8.1(d) or 8.1(e).
    SECTION 6.10 Directors. (a) Promptly upon the acceptance for payment of, and payment by Parent or
Merger Sub for, any Shares pursuant to the Oﬀer, Parent or Merger Sub shall be entitled to designate such
number of members of the Board of Directors of the Company as will give Merger Sub, subject to compliance
with Section 14(f) of the Exchange Act, representation equal to at least that number of directors, rounded up
to the next whole number, which is the product of (i) the total number of directors (giving eﬀect to the
directors elected pursuant to this sentence) multiplied by (ii) the percentage that (A) such number of Shares so
accepted for payment and paid for pursuant to the Oﬀer plus the number of Shares otherwise owned by
Parent, Merger Sub or any other subsidiary of Parent bears to (B) the number of Shares outstanding, and the
Company shall, at such time, cause such designees to be so elected; provided, however, that in the event that
such designees are appointed or elected to the Board of Directors of the Company, until the Eﬀective Time
such Board of Directors shall have at least three directors who are directors on the date of this Agreement
and who will be independent for purposes of Rule 10A-3 under the Exchange Act (the “Independent
Directors”); and provided further that, in such event, if the number of Independent Directors shall be reduced
below three

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for any reason whatsoever, any remaining Independent Directors (or Independent Director, if there shall be
only one remaining) shall be entitled to designate persons to ﬁll such vacancies who shall be deemed to be
Independent Directors for purposes of this Agreement or, if no Independent Directors then remain, the other
directors shall designate three persons to ﬁll such vacancies who will be independent for purposes of
Rule 10A-3 under the Exchange Act, and such persons shall be deemed to be Independent Directors for
purposes of this Agreement. Subject to applicable Law, the Company shall take all action requested by Parent
necessary to eﬀect any such election, including mailing to its shareholders the Information Statement
containing the information required by Section 14(f) of the Exchange Act and Rule 14f-1 promulgated
thereunder, and the Company shall make such mailing with the mailing of the Schedule 14D-9 (provided that
Parent or Merger Sub shall have provided to the Company on a timely basis all information required to be
included in the Information Statement with respect to such designees). In connection with the foregoing, the
Company shall promptly, at the option of Parent, either increase the size of the Company Board or obtain the
resignation of such number of its current directors as is necessary to enable such designees to be elected or
appointed to the Board of Directors of the Company as provided above.
   (b) Following the election or appointment of Parent’s or Merger Sub’s designees pursuant to
Section 6.10(a) and prior to the Eﬀective Time, any amendment or termination of this Agreement approved by
the Company, extension for the performance or waiver of the obligations of Parent or Merger Sub or waiver of
the Company’s rights hereunder shall require the concurrence of a majority of the Independent Directors.
    SECTION 6.11 Transfer Taxes. All stock transfer, real estate transfer, documentary, stamp, recording and
other similar Taxes (including interest, penalties and additions to any such Taxes) (“Transfer Taxes”) incurred
in connection with the Merger shall be paid by either Merger Sub or the Surviving Corporation, and the
Company shall cooperate with Merger Sub and Parent in preparing, executing and ﬁling any Tax Returns with
respect to such Transfer Taxes.
   SECTION 6.12 Anti-Takeover Statute. If any Anti-Takeover Statute is or may become applicable to this
Agreement (including the Oﬀer, the Merger and the other transactions contemplated hereby), the
Shareholders Agreement or the Stock Purchase Agreement, each of Parent, the Company and Merger Sub and
their respective Board of Directors shall grant all such approvals and take all such actions as are necessary so
that such transactions may be consummated as promptly as practicable hereafter on the terms contemplated
hereby and otherwise act to eliminate or minimize the eﬀects of such statute or regulation on such
transactions.
   SECTION 6.13 Rule 14d-10(c) Matters. Prior to the Expiration Date, the Company (acting through its Board
of Directors and its Compensation Committee) will take all such steps as may be required to cause to be
exempt under amended Rule 14d-10(c) promulgated under the Exchange Act any employment compensation,
severance or employee beneﬁt arrangements that have been or will be entered into by the Company, Parent or
any of their respective Aﬀiliates with current or future directors, oﬀicers or employees of the Company and its
Aﬀiliates and to insure that any such arrangements fall within the safe harbor provisions of such rule.

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    SECTION 6.14 NDA No. 20-381. On November 6, 2006, the Company shall inform the FDA of the fact that
the Company will make a submission (the “Submission”) to the FDA as part of NDA No. 20-381 of a study
report (together with all supporting data and case report forms) of the comparative bioequivalence study
conducted with respect to reformulated 1000mg extended release Niaspan tablets versus the 1000mg Niaspan
tablets that are, as of the date of this Agreement, commercialized. As promptly as practicable after the date
hereof, the Company shall make the Submission to the FDA. Notwithstanding any provision in this Agreement
to the contrary, the Submission shall not result in any breach of any representation, warranty, covenant or
agreement, or otherwise in the failure of any condition to the Oﬀer or the Merger to be satisﬁed.

                                                 ARTICLE VII

                                          CONDITIONS OF MERGER
    SECTION 7.1 Conditions to Obligation of Each Party to Eﬀect the Merger. The respective obligations of
each party to eﬀect the Merger shall be subject to the satisfaction or waiver at or prior to the Eﬀective Time
of the following conditions:
  (a) if required by Law, this Agreement shall have been approved by the shareholders of the Company by the
Company Requisite Vote;
   (b) no Law (whether temporary, preliminary or permanent) shall have been enacted, entered, promulgated
or enforced, nor any injunction shall have been issued and be in eﬀect, by any United States or state court or
United States Governmental Entity which prohibits, restrains or enjoins the consummation of the Merger;
provided, however, that prior to invoking this condition each party agrees to comply with Section 6.7; and
   (c) all statutory waiting periods (and any extension thereof) applicable to the Merger under the HSR Act
shall have been terminated or shall have expired.
  SECTION 7.2 Conditions to Obligations of Parent and Merger Sub. The obligations of Parent and Merger
Sub to eﬀect the Merger shall be subject to the condition that Parent or Merger Sub shall have accepted
Shares for payment pursuant to the Oﬀer.

                                                 ARTICLE VIII

                                  TERMINATION, AMENDMENT AND WAIVER
   SECTION 8.1 Termination. This Agreement may be terminated and the Merger contemplated hereby may
be abandoned at any time prior to the Eﬀective Time, notwithstanding approval by the shareholders of the
Company:

   (a) by mutual written consent of Parent, Merger Sub and the Company;
   (b) by Parent or the Company if any court of competent jurisdiction or other Governmental Entity located or
having jurisdiction within the United States shall have issued a ﬁnal order, decree or ruling or taken any other
ﬁnal action restraining, enjoining or otherwise

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  prohibiting the Merger and such order, decree, ruling or other action is or shall have become ﬁnal and
nonappealable;
   (c) by either Parent or the Company if the Eﬀective Time shall not have occurred on or before the date
which is nine months from the date hereof (the “Termination Date”); provided that the right to terminate this
Agreement pursuant to this Section 8.1(c) shall not be available to the party seeking to terminate if any action
of such party (or, in the case of Parent, Merger Sub) or the failure of such party (or, in the case of Parent,
Merger Sub) to perform any of its obligations under this Agreement required to be performed at or prior to the
Eﬀective Time has been the cause of, or resulted in, the failure of the Eﬀective Time to occur on or before the
Termination Date and such action or failure to perform constitutes a breach of this Agreement; and provided
further that this Agreement may not be terminated pursuant to this clause (c) after Parent or Merger Sub
accepts Shares for payment pursuant to the Oﬀer;
    (d) by the Company if Parent or Merger Sub shall have breached or failed to perform any representation,
warranty, covenant or agreement contained in this Agreement (without giving eﬀect to any limitation on any
representation or warranty indicated by the words “Parent Material Adverse Eﬀect”, “in all material
respects”, “in any material respect”, “material” or “materially”), and (i) such breach has not been cured prior
to the earlier of (A) 30 days following notice of such breach to Parent and (B) the Termination Date and
(ii) such breach has had, or would reasonably be expected to have, individually or in the aggregate, a Parent
Material Adverse Eﬀect; provided that the Company shall not have the right to terminate this Agreement
pursuant to this Section 8.1(d) if the Company is then in material breach of any of its representations,
warranties, covenants or agreements contained in this Agreement; provided further that this Agreement may
not be terminated pursuant to this Section 8.1(d) after Parent or Merger Sub accepts Shares for payment
pursuant to the Oﬀer;
   (e) by Parent if there shall have been a breach of any representation, warranty, covenant or agreement on
the part of the Company contained in this Agreement such that the conditions set forth in clause (c) or (d) of
Exhibit A would not be satisﬁed and, in either such case, such breach shall not have been cured prior to the
earlier of (A) 30 days following notice of such breach to the Company and (B) the Termination Date; provided
that Parent shall not have the right to terminate this Agreement pursuant to this Section 8.1(e) if Parent or
Merger Sub is then in material breach of any of its representations, warranties, covenants or agreements
contained in this Agreement; provided that this Agreement may not be terminated pursuant to this Section
8.1(e) after Parent or Merger Sub accepts Shares for payment pursuant to the Oﬀer;

   (f) by Parent in the event that an Adverse Recommendation Change has occurred;
   (g) by Parent in the event that a willful and material breach of Section 6.4 has occurred; or
  (h) by Parent or the Company after the twentieth Business Day following an Adverse Recommendation
Change if (x) the Majority Tender Condition has not then been satisﬁed and (y) Parent has not increased the
Oﬀer Price in an amount suﬀicient to permit the

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Board of Directors of the Company to reinstate the Oﬀer Recommendation and the Merger Recommendation
in accordance with its ﬁduciary duties.
   SECTION 8.2 Eﬀect of Termination. In the event of the termination of this Agreement pursuant to
Section 8.1, this Agreement shall forthwith become void and there shall be no liability or obligation on the part
of any party hereto, except with respect to Sections 3.17, 4.5, 6.3(b), 6.8, this Section 8.2, Section 8.3 and
Article IX, which shall survive such termination; provided, however, that nothing herein shall relieve any party
from liability for any willful and material breach hereof, which, in the case of Parent, shall include liability to
the Company for lost shareholder premium.
  SECTION 8.3 Fees and Expenses. (a) Except as otherwise speciﬁcally provided herein, each party shall
bear its own fees and expenses in connection with this Agreement and the transactions contemplated hereby.
   (b) In the event that this Agreement is terminated by Parent pursuant to 8.1(f) then the Company shall pay
Parent a fee equal to the Termination Expenses plus the Termination Fee, by wire transfer of same day funds
to an account designated by Parent.
   (c) If the Board of Directors of the Company eﬀects an Adverse Recommendation Change and this
Agreement is subsequently terminated pursuant to Section 8.1(h), then the Company will pay Parent the
Termination Expenses plus $126,000,000 (the “Termination Fee”), in each case by wire transfer of same day
funds to an account designated by Parent.
   (d) If this Agreement is terminated pursuant to Section 8.1(e) as a result of a breach following an Adverse
Recommendation Change or receipt or public disclosure of a bona ﬁde Acquisition Proposal after the date
hereof, then the Company will pay Parent an amount equal to the Termination Expenses, and, further, if within
twelve months after the termination date, the Company or any of its Aﬀiliates enters into a deﬁnitive
agreement for or consummates an Acquisition Proposal or Superior Proposal, then the Company will also pay
Parent the Termination Fee, in each case by wire transfer of same day funds to an account designated by
Parent; provided that the Company shall not be required to pay the Termination Fee to the Parent in the event
that the consideration payable per share of Company Common Stock pursuant to such Acquisition Proposal or
Superior Proposal is less than the Oﬀer Price.
   (e) If this Agreement is terminated pursuant to Section 8.1(g) then the Company will pay Parent an amount
equal to the Termination Expenses, and, further, if within twelve months after the termination date, the
Company or any of its Aﬀiliates enters into a deﬁnitive agreement for or consummates an Acquisition Proposal
or Superior Proposal, then the Company will also pay Parent the Termination Fee, in each case by wire
transfer of same day funds to an account designated by Parent.
   (f) The Termination Expenses and Termination Fee will be paid to Parent by the Company within two
Business Days after the date of the event giving rise to the obligation to make such payment. The Company
acknowledges that the agreement contained in this Section 8.3 is an integral part of the transactions
contemplated by this Agreement, and that, without this

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agreement, Parent would not enter into this Agreement. The Company shall pay all reasonable expenses,
including reasonable attorneys’ fees, that may be incurred by Parent in successfully enforcing the Company’s
obligations under this Section 8.3. For purposes of this Agreement, “Termination Expenses” means an amount,
not to exceed $10,000,000, equal to the reasonable out-of-pocket costs and expenses of Parent and Merger
Sub and their respective Aﬀiliates incurred in connection with this Agreement and the transactions
contemplated hereby (including the fees and expenses of the ﬁnancial advisor, counsel and accountants
incurred in connection with this Agreement and the transactions contemplated hereby).
   (g) Solely for purposes of this Section 8.3 references to 15% in the deﬁnition of Acquisition Proposal shall
be deemed replaced by references to 50%.
   (h) For the purposes of the proviso set forth in Section 8.3(d): (i) the consideration payable per share of
Company Common Stock shall include (x) any non-cash consideration (including any residual interest in the
Company retained by shareholders immediately following such transaction whether represented by such
Share or other securities of the Company to the extent that the Company has engaged in a spin-oﬀ,
recapitalization or similar transaction) which shall be valued at its fair market value as of the date of
consummation, (y) all deferred payments or consideration which shall be discounted at a market rate to reﬂect
the net present value and (z) all contingent payments which will be assumed to have been paid, in each case,
as of the date of consummation; (ii) the fair market value of any non-cash consideration consisting of
(A) securities listed on a national securities exchange or traded on the Nasdaq shall be equal to the average of
the closing prices per share of such security as reported on such exchange or Nasdaq for each of the ﬁve
trading days prior to the date of determination; and (B) property other than cash or securities of the type
described in subclause (A) shall be the amount that a reasonable, willing buyer would pay to a reasonable,
willing seller, taking into account the nature and terms of such property (in the event of a dispute as to the fair
market value of such property, such disputed amounts shall be determined by a nationally recognized
independent investment banking ﬁrm mutually agreed upon by Parent and the Company within ﬁve Business
Days of the event requiring such selection; the determination made by such investment banking ﬁrm shall be
ﬁnal and binding on the parties and Parent and the Company shall each pay one-half of the expenses in
connection with such determination); and (iii) in the event that the Company shall declare and pay a stock or
extraordinary dividend or other distribution, or eﬀect a stock split, reverse stock split, reclassiﬁcation,
reorganization, recapitalization, combination or other like change with respect to shares of Company Common
Stock, the calculation of the consideration shall be adjusted to reﬂect fully such dividend, distribution, stock
split, reverse stock split, reclassiﬁcation, reorganization, recapitalization, combination or other like change
and the value of any such dividend, distribution, stock split, reclassiﬁcation, reorganization, recapitalization,
combination (including any residual interest in the Company whether represented by Company Common Stock
or other securities of the Company to the extent that the Company has engaged in a spin-oﬀ, recapitalization
or similar transaction).
   SECTION 8.4. Amendment. This Agreement may be amended by the parties hereto by action taken by or on
behalf of their respective Boards of Directors at any time prior to the Eﬀective Time, whether before or after
approval of this Agreement by the shareholders of the Company; provided, however, that, after approval of
this Agreement by the shareholders of the Company, no amendment may be made which by Law requires the
further approval of the

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shareholders of the Company without such further approval. In the event the Publication Date has not
occurred on or prior to November 17, 2006, the parties shall execute an appropriate amendment to this
Agreement to reﬂect that Parent shall acquire all the Company Common Stock pursuant to the Merger and
that the Oﬀer shall not be commenced. This Agreement may not be amended except by an instrument in
writing signed by the parties hereto.
     SECTION 8.5 Waiver. At any time prior to the Eﬀective Time, any party hereto may (i) extend the time for
the performance of any of the obligations or other acts of the other parties hereto, (ii) waive any inaccuracies
in the representations and warranties contained herein or in any document delivered pursuant hereto, and
(iii) subject to the requirements of applicable Law, waive compliance with any of the agreements or conditions
contained herein; provided, however, that, after adoption of this Agreement by the shareholders of the
Company, no extension or waiver may be made which by Law requires the further approval of the
shareholders of the Company without such further approval. Any such extension or waiver shall be valid if set
forth in an instrument in writing signed by the party or parties to be bound thereby. The failure of any party to
assert any rights or remedies shall not constitute a waiver of such rights or remedies.

                                                  ARTICLE IX

                                            GENERAL PROVISIONS
   SECTION 9.1 Non-Survival of Representations, Warranties, Covenants and Agreements. None of the
representations, warranties, covenants and agreements in this Agreement or in any instrument delivered
pursuant to this Agreement, including any rights arising out of any breach of such representations, warranties,
covenants and agreements, shall survive the Eﬀective Time, except for (i) those covenants and agreements
contained herein that by their terms apply or are to be performed in whole or in part after the Eﬀective Time
and (ii) this Article IX.
   SECTION 9.2 Notices. All notices, requests, claims, demands and other communications hereunder shall be
in writing and shall be given (and shall be deemed to have been duly given upon receipt) by delivery in Person,
by facsimile or by registered or certiﬁed mail (postage prepaid, return receipt requested) to the respective
parties at the following addresses (or at such other address for a party as shall be speciﬁed by like notice):
   (a)    if to Parent or Merger Sub:

           Abbott Laboratories
           200 Abbott Park Road
           Abbott Park, Illinois 60064
           Attention: President, Pharmaceutical Products Division
           Facsimile: 847-937-6683

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  with additional copies (which shall not constitute notice) to:

          Abbott Laboratories
          100 Abbott Park Road
          Abbott Park, Illinois 60064
          Attention: Senior Vice President, General Counsel and Secretary
          Facsimile: 847-938-6277

          Covington & Burling LLP
          1330 Avenue of the Americas
          New York, NY 10019
          Attention: Scott F. Smith
          Facsimile: 646-441-9056
  (b)    if to the Company:

          Kos Pharmaceuticals, Inc.
          1 Cedar Brook Drive
          Cranbury, NJ 08512
          Attention: Andrew I. Koven
                      Executive Vice President, General Counsel and
                      Corporate Secretary
          Facsimile: 609-495-0907
  with additional copies (which shall not constitute notice) to:

          Cravath, Swaine & Moore LLP
          825 Eighth Avenue
          New York, NY 10019
          Attention: Sarkis Jebejian
          Facsimile: 212-474-3700

          Holland & Knight LLP
          195 Broadway, 24th Floor
          New York, NY 10007
          Attention: Steven Sonberg
          Facsimile: 212-385-9010

          Kramer Levin Naftalis & Frankel LLP
          1177 Avenue of the Americas
          New York, NY 10036
          Attention: Thomas D. Balliett
          Facsimile: 212-715-8000
  SECTION 9.3 Certain Deﬁnitions. For purposes of this Agreement, the term:
   (a) “Aﬀiliate” means any executive oﬀicer or director of any Person or any Person owning 5% or more of
any class of voting securities of any other Person or any other

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“aﬀiliate” as deﬁned in Rule 12b-2 under the Exchange Act or any immediate family member of any of the
foregoing. For purposes of this Agreement, Arisaph Pharmaceuticals, Inc. shall not be deemed an Aﬀiliate of
the Company.
   (b) “beneﬁcial owner” with respect to any Shares has the meaning ascribed to such term under Rule 13d-3
under the Exchange Act and includes any Person who shall be deemed to be the beneﬁcial owner of such
Shares (i) which such Person or any of its Aﬀiliates or associates (as such term is deﬁned in Rule 12b-2 under
the Exchange Act) beneﬁcially owns, directly or indirectly, (ii) which such Person or any of its Aﬀiliates or
associates (as such term is deﬁned in Rule 12b-2 of the Exchange Act) has, directly or indirectly, (A) the right
to acquire (whether such right is exercisable immediately or subject only to the passage of time), pursuant to
any agreement, arrangement or understanding or upon the exercise of consideration rights, exchange rights,
warrants, options or otherwise, or (B) the right to vote pursuant to any agreement, arrangement or
understanding, or (iii) which are beneﬁcially owned, directly or indirectly, by any other Persons with whom
such Person or any of its Aﬀiliates or associates has any agreement, arrangement or understanding for the
purpose of acquiring, holding, voting or disposing of any Shares (and the term “beneﬁcially owned” or “owns
beneﬁcially” shall have a corresponding meaning).
   (c) “Business Day” means any day on which the principal oﬀices of the SEC in Washington, D.C. are open to
accept ﬁlings or, in the case of determining a date when any payment is due, any day on which banks are not
required or authorized by law to close in New York, New York.
   (d) “control” (including the terms “controlled”, “controlled by” and “under common control with”) means
the possession, directly or indirectly or as trustee or executor, of the power to direct or cause the direction of
the management policies of a Person, whether through the ownership of stock, as trustee or executor, by
contract or credit arrangement or otherwise.
    (e) “Controlled Group Liability” means any and all liabilities (i) under Title IV of ERISA, (ii) under
Section 302 of ERISA, (iii) under Sections 412 and 4971 of the Code, (iv) as a result of a failure to comply with
the continuation coverage requirements of Section 601 et seq. of ERISA and Section 4980B of the Code, and
(v) under corresponding or similar provisions of foreign laws or regulations.
   (f) “ERISA Aﬀiliate” means, with respect to any entity, trade or business, any other entity, trade or business
that is, or was at the relevant time, a member of a group described in Section 414(b), (c), (m) or (o) of the
Code or Section 4001(b)(1) of ERISA that includes or included the ﬁrst entity, trade or business, or that is, or
was at the relevant time, a member of the same “controlled group” as the ﬁrst entity, trade or business
pursuant to Section 4001(a)(14) of ERISA.
   (g) “GAAP” means the generally accepted accounting principles in the United States, set forth in the
Financial Accounting Standards Board (FASB) Statements of Financial Accounting Standards and
Interpretations, FASB Emerging Issues Task Force consensuses, Accounting Principles Board (APB) Opinions,
and rules and interpretative releases of the SEC,

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including SEC Staﬀ Accounting Bulletins and other such statements by such other entity as may be approved
by a signiﬁcant segment of the accounting profession in the United States, in each case, as applicable as of
the time for the relevant ﬁnancial statements referred to herein.
   (h) “Knowledge” means, (i) with respect to the Company, the actual knowledge of the oﬀicers listed in
Section 9.3(h) of the Company Disclosure Schedule, and (ii) with respect to Parent, the actual knowledge of
the oﬀicers listed in Section 9.3(h) of the Parent Disclosure Schedule.
   (i) “Person” means an individual, corporation, partnership, limited liability company, association, trust,
unincorporated organization, other entity or group (as deﬁned in Section 13(d)(3) of the Exchange Act).
    (j) “Subsidiary” of the Company, the Surviving Corporation, Parent or any other Person means any
corporation, partnership, joint venture or other legal entity of which the Company, the Surviving Corporation,
Parent or such other person, as the case may be (either alone or through or together with any other
Subsidiary), owns, directly or indirectly, 50% or more of the stock or other equity interests the holder of which
is generally entitled to vote for the election of the board of directors or other governing body of such
corporation or other legal entity.
   SECTION 9.4 Severability. If any term or other provision of this Agreement is invalid, illegal or incapable of
being enforced by any rule of law or public policy, all other conditions and provisions of this Agreement shall
nevertheless remain in full force and eﬀect so long as the economic or legal substance of the transactions
contemplated hereby is not aﬀected in any manner adverse to any party.
   SECTION 9.5 Entire Agreement; Assignment. This Agreement (including the Exhibits hereto), the Company
Disclosure Schedule, the Parent Disclosure Schedule and the Conﬁdentiality Agreement constitute the entire
agreement among the parties with respect to the subject matter hereof and supersede all prior agreements
and undertakings, both written and oral, among the parties, or any of them, with respect to the subject matter
hereof. This Agreement shall not be assigned by operation of law or otherwise without the prior written
consent of each of the other parties, except that Parent may assign all or any of its rights and obligations
hereunder to any direct or indirect wholly-owned Subsidiary of Parent; provided, however, that no such
assignment shall relieve the Parent of its obligations hereunder.
   SECTION 9.6 Parties in Interest. This Agreement shall be binding upon and inure solely to the beneﬁt of
each party hereto, and nothing in this Agreement, express or implied, is intended to or shall confer upon any
other Person (including any employee of the Company) any rights, beneﬁts or remedies of any nature
whatsoever under or by reason of this Agreement, other than (a) with respect to the provisions of Article II
which shall be enforceable following the Eﬀective Time by the holders of Options, Certiﬁcates, Restricted
Company Common Stock, MJ Warrant and the PharmaBio Warrant, and (b) with respect to the provisions of
Section 6.6 which shall inure to the beneﬁt of the Persons or entities beneﬁting therefrom, in each case who
are intended to be third party beneﬁciaries thereof.

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   SECTION 9.7 Governing Law. Except to the extent that the FBCA is applicable, this Agreement shall be
governed by, and construed in accordance with, the laws of the State of Delaware (without giving eﬀect to
choice of law principles thereof). Each of the parties hereto agrees (a) that this Agreement involves at least
$100,000.00, and (b) that this Agreement has been entered into by the parties hereto in express reliance upon
6 Del. C. § 2708.
   SECTION 9.8 Headings. The descriptive headings contained in this Agreement are included for
convenience of reference only and shall not aﬀect in any way the meaning or interpretation of this Agreement.
   SECTION 9.9 Counterparts. This Agreement may be executed and delivered (including by facsimile
transmission) in one or more counterparts, and by the diﬀerent parties hereto in separate counterparts, each
of which when executed shall be deemed to be an original but all of which taken together shall constitute one
and the same agreement.
    SECTION 9.10 Speciﬁc Performance; Jurisdiction. Notwithstanding any other provision of this Agreement,
the parties hereto agree that irreparable damage would occur, damages would be diﬀicult to determine and
would be an insuﬀicient remedy and no other adequate remedy would exist at law or in equity, in each case in
the event that any of the provisions of this Agreement were not performed in accordance with their speciﬁc
terms or were otherwise breached (or any party hereto threatens such a breach). It is accordingly agreed that
in the event of a breach or threatened breach of this Agreement, the other parties hereto shall be entitled to
an injunction or injunctions to prevent breaches of this Agreement and to enforce speciﬁcally the terms and
provisions of this Agreement in the Court of Chancery of the State of Delaware or, if under applicable law
exclusive jurisdiction over such matter is vested in the federal courts, any court of the United States located in
the State of Delaware, this being in addition to any other remedy to which they are entitled at law or in equity.
Each party hereto irrevocably waives any defenses based on adequacy of any other remedy, whether at law or
in equity, that might be asserted as a bar to the remedy of speciﬁc performance of any of the terms or
provisions hereof or injunctive relief in any action brought therefor by any other party hereto. In addition, each
of the parties hereto (i) irrevocably submits itself to the personal jurisdiction of the Court of Chancery of the
State of Delaware or any court of the United States located in the State of Delaware in the event any dispute
arises out of this Agreement or any of the transactions contemplated by this Agreement, (ii) agrees that it will
not attempt to deny or defeat such personal jurisdiction by motion or other request for leave from any such
court, (iii) agrees that it will not bring any action relating to this Agreement or any of the transactions
contemplated by this Agreement in any court other than the Court of Chancery of the State of Delaware or, if
under applicable law exclusive jurisdiction over such matter is vested in the federal courts, any court of the
United States located in the State of Delaware and (iv) consents to service being made through the notice
procedures set forth in Section 9.2. Each of the Company, Parent and Merger Sub hereby agrees that service
of any process, summons, notice or document by U.S. registered mail to the respective addresses set forth in
Section 9.2 shall be eﬀective service of process for any Proceeding in connection with this Agreement or the
transactions contemplated hereby.
  SECTION 9.11 Parent Guarantee. Parent agrees to take all action necessary to cause Merger Sub or the
Surviving Corporation, as applicable, to perform all of its respective

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agreements, covenants and obligations under this Agreement. Parent unconditionally guarantees to the
Company the full and complete performance by Merger Sub or the Surviving Corporation, as applicable, of its
respective obligations under this Agreement and shall be liable for any breach of any representation, warranty,
covenant or obligation of Merger Sub or the Surviving Corporation, as applicable, under this Agreement. This
is a guarantee of payment and performance and not collectibility. Parent hereby waives diligence,
presentment, demand of performance, ﬁling of any claim, any right to require any proceeding ﬁrst against
Merger Sub or the Surviving Corporation, as applicable, protest, notice and all demands whatsoever in
connection with the performance of its obligations set forth in this Section 9.11.
    SECTION 9.12 Interpretation. When a reference is made in this Agreement to an Article, Section, Exhibit or
Schedule, such reference shall be to an Article of, a Section of, or an Exhibit or Schedule to, this Agreement
unless otherwise indicated. The table of contents and headings contained in this Agreement are for reference
purposes only and shall not aﬀect in any way the meaning or interpretation of this Agreement. Whenever the
words “include”, “includes”, “including” or “such as” are used in this Agreement, they shall be deemed to be
followed by the words “without limitation”. The word “will” shall be construed to have the same meaning and
eﬀect as the word “shall.” The words “hereof”, “herein” and “hereunder” and words of similar import when
used in this Agreement shall refer to this Agreement as a whole and not to any particular provision of this
Agreement. The word “or” shall not be exclusive. The word “extent” in the phrase “to the extent” shall mean
the degree to which a subject or other thing extends, and such phrase shall not mean simply “if”. The phrase
“date hereof” or “date of this Agreement” shall be deemed to refer to November 5, 2006. Whenever used in
this Agreement, any noun or pronoun shall be deemed to include the plural as well as the singular and to cover
all genders. This Agreement shall be construed without regard to any presumption or rule requiring
construction or interpretation against the party drafting or causing any instrument to be drafted. References
to “this Agreement” shall include the Company Disclosure Schedule. All terms deﬁned in this Agreement shall
have the deﬁned meanings when used in any certiﬁcate or other document made or delivered pursuant hereto
unless otherwise deﬁned therein. Any Contract, instrument or Law deﬁned or referred to herein or in any
Contract or instrument that is referred to herein means such Contract, instrument or Law as from time to time
amended, modiﬁed or supplemented including (in the case of Contracts or instruments) by waiver or consent
and (in the case of Law) by succession of comparable successor Law and references to all attachments
thereto and instruments incorporated therein. References to a person are also to its permitted successors and
assigns.
   SECTION 9.13 Waiver of Jury Trial. Each of the parties to this Agreement irrevocably waives any and all
right to trial by jury in any legal proceeding arising out of or relating to this Agreement or the transactions
contemplated by this Agreement.

                                   [Remainder of Page Left Blank Intentionally]

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   IN WITNESS WHEREOF, Parent, Merger Sub and the Company have caused this Agreement to be executed
as of the date ﬁrst written above by their respective oﬀicers thereunto duly authorized.

                                          ABBOTT LABORATORIES

                                          By: /s/ William Dempsey
                                              Name: William Dempsey
                                              Title: Senior Vice President,
                                                       Pharmaceutical Operations

                                          S&G NUTRITIONALS, INC.

                                          By: /s/ William Dempsey
                                              Name: William Dempsey
                                              Title: Authorized Oﬀicer

                                          KOS PHARMACEUTICALS, INC.

                                          By: /s/ Adrian Adams
                                              Name: Adrian Adams
                                              Title: President and CEO

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                                                                                                    EXHIBIT A

                                            Conditions of the Oﬀer
    Notwithstanding any other term of the Oﬀer or this Agreement, neither Parent nor Merger Sub shall be
required to accept for payment or, subject to any applicable rules and regulations of the SEC, including
Rule 14e-l(c) under the Exchange Act (relating to Parent’s or Merger Sub’s obligation to pay for or return
tendered Shares promptly after the termination or withdrawal of the Oﬀer), to pay for any Shares tendered
pursuant to the Oﬀer unless (i) the Minimum Tender Condition has been satisﬁed and (ii) all statutory waiting
periods (and any extensions thereof) applicable to the purchase of Shares pursuant to the Oﬀer and the
Investments Stock Purchase under the HSR Act shall have terminated or shall have expired. The term
“Minimum Tender Condition” shall mean (x)(A) the number of Shares which have been validly tendered and
not withdrawn prior to the expiration of the Oﬀer plus (B) if the Investments Stock Purchase will be
consummated concurrently with or immediately subsequent to the Oﬀer, the number of Shares held by Kos
Investments, Inc. and its subsidiaries, together represent at least a majority of the Fully Diluted Shares and
(y) in the event an Adverse Recommendation Change has been eﬀected (and not subsequently withdrawn), the
number of Shares (other than Shares held by the Controlling Shareholder) which have been validly tendered
and not withdrawn prior to the expiration of the Oﬀer shall equal at least a majority of the Shares owned
directly or indirectly by Persons other than the Controlling Shareholder (the “Majority Tender Condition”). The
term “Fully Diluted Shares” means all outstanding securities entitled generally to vote in the election of
directors of the Company on a fully diluted basis, after giving eﬀect to the exercise or conversion of all
options, rights and securities exercisable or convertible into such voting securities. The term “Controlling
Shareholder” means the Jaharis Family, Kos Investments and Kos Holdings. Furthermore, notwithstanding any
other term of the Oﬀer or this Agreement, neither Parent nor Merger Sub shall be required to commence the
Oﬀer or accept for payment or, subject as aforesaid, to pay for, and may delay the acceptance for payment of,
any Shares tendered pursuant to the Oﬀer if, at any time on or after the date of this Agreement and before the
expiration or termination of the Oﬀer, any of the following conditions exists:
     (a) any law (whether temporary, preliminary or permanent) exists or shall have been enacted, entered,
  promulgated or enforced, or any injunction shall have been issued and be in eﬀect, by any United States or
  state court or United States Governmental Entity which prohibits, restrains or enjoins the consummation of
  the Oﬀer, the Merger or the Investments Stock Purchase;
    (b) there shall have occurred any change, occurrence or development that, individually or in the
  aggregate, has had or would reasonably be expected to have, a Material Adverse Eﬀect on the Company;
     (c) (i) the representations and warranties of the Company contained in this Agreement (other than those
  set forth in Sections 3.3 and 3.4) shall not be true




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  and correct (without giving eﬀect to any limitation on any representation or warranty indicated by the words
  “Material Adverse Eﬀect”, “in all material respects”, “in any material respect”, “material” or “ materially”)
  at such time (except to the extent expressly made as of an earlier date, in which case as of such earlier
  date), in each case except where the failure of any such representations and warranties to be so true and
  correct would not, or would not reasonably be expected to, individually or in the aggregate, have a Material
  Adverse Eﬀect on the Company and (ii) the representations and warranties of the Company set forth in
  Sections 3.3 and 3.4 shall not be true and correct in all material respects at such time;
     (d) the Company shall have failed to perform in any material respect any obligation or to comply in any
  material respect with any agreement or covenant of the Company required to be performed or complied
  with by it under this Agreement;
     (e) there shall not be pending any Proceeding by a Governmental Entity which does or would be
  reasonably likely to prevent the consummation of the transactions contemplated by this Agreement;
     (f) this Agreement shall have been terminated in accordance with its terms; or
     (g) the Company shall have failed to perform any obligation set forth in Section 6.14 of this Agreement.
   At the request of Parent, the Company shall deliver to Parent a certiﬁcate executed on behalf of the
Company by the chief executive oﬀicer or chief ﬁnancial oﬀicer of the Company certifying that the matters set
forth in sections (b), (c) and (d) have not occurred.
   The foregoing conditions shall be in addition to, and not a limitation of the rights of Parent and Merger Sub
to extend, terminate and/or modify the Oﬀer pursuant to the terms and conditions of this Agreement.
   The foregoing conditions are for the sole beneﬁt of Parent and Merger Sub and subject to the terms and
conditions of this Agreement, may be waived by Parent or Merger Sub, in whole or in part, at any time, at the
sole discretion of Parent or Merger Sub. The failure by Parent, Merger Sub or any other aﬀiliate of Parent at
any time to exercise any of the foregoing rights shall not be deemed a waiver of any such right, the waiver of
any such right with respect to particular facts and circumstances shall not be deemed a waiver with respect to
any other facts and circumstances and each such right shall be deemed an ongoing right that may be asserted
at any time and from time to time.

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